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GARDEN CITY EMPLOYEES' RETIREMENT SYSTEM, Individually and on
Behalf of All Others Similarly Situated, Plaintiff, CENTRAL STATES,
SOUTHEAST AND SOUTHWEST AREAS PENSION FUND, Individually and on
Behalf of All Others Similarly Situated, Lead Plaintiff, v. PSYCHIATRIC
SOLUTIONS, INC., JOEY A. JACOBS, BRENT TURNER, and JACK E,
POLSON, Defendants.

No. 3:09-00882

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
TENNESSEE, NASHVILLE DIVISION

2012 U.S. Dist. LEXIS 44445

March 29, 2012, Decided
March 29, 2012, Filed

SUBSEQUENT HISTORY: Petition denied by, Motion
granted by, in part, Motion denied by, in part In re
Psychiatric Solutions, Inc., 2012 U.S. App. LEXTS 18147
(6th Cir., May 25, 2012)

PRIOR HISTORY: In re Garden City Emples. Ret. Sys.,
2011 U.S. Dist. LEXIS 91861 (M.D. Tenn., Aug. 13,
2011)

COUNSEL: [*1] For Garden City Employees’
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LLC, Hartford, CT; William S. Norton, LEAD
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Mount Pleasant, SC.

JUDGES: William J. Haynes, Jr., United States District
Judge.

OPINION BY: William J. Haynes, Jr.

OPINION

MEMORANDUM

I. Introduction

II. Analysis of the Motion for Class Certification

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4, Media Reports on PSI's Practices

5. PSI's Responses to Published Reports

6. Defendants' Statements on PSI's Finances

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4. Adequacy of Class Representative

B. Rule 23(b)(3) Requirements

IV. Conclusion

I. [*4] Introduction

Plaintiffs, Garden City Employees' Retirement
System ("Garden City") and Central States, Southeast and
Southwest Areas Pension Fund, filed this action under
Section 10(b) and 20(a) of the Securities Exchange Act of
1934, 15 U.S.C. § 78a et seg., and Rule 10b-5
promulgated thereunder, 17 CFR. § 240.10b-5, on
behalf of themselves and a class of shareholders against
the Defendants: Psychiatric Solutions, Inc. ("PSI"), Joey
A. Jacobs, Brent Turner, and Jack E. Polson. In earlier
proceedings, the Court appointed Central States,
Southeast and Southwest Areas Pension Fund ("Central
States") as the Lead Plaintiff in this action. Central States
then filed an amended complaint (Docket Entry No. 109).
Plaintiffs assert jurisdiction under 15 U.S.C. § 78aa of
the Securities Exchange Act.

In sum, Plaintiffs allege that from February 21, 2008
through February 25, 2009 when Plaintiffs purchased or
held PSI stock, these Defendants engaged in and/or
materially assisted in a scheme and course of business to
inflate artificially the value of PSI stock. Defendants
allegedly did so by running the business in a manner
which operated as a fraud or deceit upon investors and
other members of the [*5] public. Plaintiffs specifically
allege that the Defendants concealed PSI's increasing
financial difficulties in increasing revenue and profits due
to staffing PSI facilities at levels below those necessary
for patient safety and PSI's stated quality of care at PSI
facilities. Plaintiffs allege that the Defendants repeatedly
minimized the significance of published reports of patient
safety incidents at PSI institutions to hide PSI's actual
financial problems and to prevent steep stock price
declines until February 25, 2009, when PSI reported its
fiscal year 2008 and fourth quarter 2008 financial results.
Plaintiffs allege that the Defendants’ fraud ultimately led
to a collapse of PSI's stock price, damaging the Plaintiffs.

Before the Court is the Plaintiffs' motion for class
certifications (Docket Entry No. 147), The Plaintiffs'
proposed class is defined as follows:

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All persons who purchased or otherwise
acquired PSI securities between February
21, 2008 and Febryary 25, 2009, inclusve
(the "Class Period"). Excluded from the
Class are:(i) PSI, its parents, subsidiaries,
and any other entity owned or controlled
by PSI; (ii) Joey A. Jacobs, Jack E. Polson
and Brent Turner (the "Individual [*6]
Defendants"); (iii) all other executives
officers and directors of PSI or any of its
parents, subsidiaries or other entities
owned or controlled by PSI; (iv) all
immediate family members of the
foregoing including grandparents, parents,
spouses, siblings, children, grandchildren
and step-relations of similar degree; and
(v) all predecessors and successors in
interest or assigns of any of the foregoing.

Plaintiffs contend, in essence, that Plaintiffs' claims are
representative of a class of investors who are too
numerous for joinder; that Plaintiffs claims are typical of
the claims of members of the class; that common
questions of fact and law exist on Plaintiffs' claims and
class members' claims and that as experienced counsel,
Plaintiffs are an adequate representative for the class.

In opposition, Defendants assert, in sum, that
Plaintiffs are not proper representatives of the purported
class because the Lead Plaintiff did not suffer losses that
are necessary to assert common and typical claims
necessary for class certification; that Lead Plaintiff
Central States is not an adequate class representative due
to its limited resources and lack of control of this
litigation; and that subclasses [*7] are appropriate based
upon published reports of Defendants’ business practices
at different times.

In its response, Lead Plaintiff Central states asserts:
that it has suffered actual losses to posses claims typical
of the class; that as a matter of law, the issue of its actual
loss is not relevant to class certification; and that
Defendants’ loss calculations are flawed for failures to
include transaction costs.

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II. Analysis of the Motion for Class Certification

For its analysis of the Plaintiffs’ motion for class
certification, the Court adopts potions of its analysis of
the Plaintiffs' complaint that is set forth below. The court
deems particularly probative on the class certification
issue, the amended complaint's quotations of the
Defendants and governmental findings on _ the
Defefendants' methods of operating their
businessThereafter the court sets forth the parties' other
facts on class certification.

A. Analysis of the Amended Complaint
1. The Parties

According to Plaintiffs’ amended complaint,
Plaintiffs, Garden City Employees’ Retirement System
("Garden City") and Central States, Southeast and
Southwest Areas Pension Fund are benefit funds that
purchased PSI stock in providing pension [*8] services
and benefits to more than 360,000 participants in those
Plans. (Docket Entry No. 109, Amended Complaint at {J
19, 20). The proposed class in this action includes
persons who purchased the publicly traded securities of
PSI between February 21, 2008 through February 25,
2009. Id. at § 1.

PSI is a publically traded company based in Franklin,
Tennessee, and provides inpatient behavioral healthcare
services at 95 hospitals and residential treatment
facilities. Id. at | 2. The majority of PSI's patients in these
facilities are children and adolescents who have been
placed under protective care after incidents of abuse or
neglect by their former caregivers. Id. PSI's common
stock is traded on the NASDAQ market under the ticker
symbol "PSYS." Id. at § 21. During the Class Period,
there were more than 55 million shares of PSI common
stock issued and outstanding. Id.

Defendant, Joey A. Jacobs, co-founded PSI in 1988,
and has served as executive chairman of PSI's board of
directors and as PSI's president and chief executive
officer since April 1997. Id. at | 22. As chief executive
officer, Jacobs oversees and directs PSI's day-to-day
business. Id. During the Class Period, Jacobs signed [*9]
PSI's Securities and Exchange Commission ("SEC")
filings and Sarbanes-Oxley certifications. Id.

Since August 2002, Defendant Jack E. Polson has
served as PSI's chief accounting officer. Id. at { 23. Prior

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to that position, Polson served as PSI's controller
beginning in June 1997. Id. As chief accounting officer,
Polson participates in monthly executive review meetings
with each of PSI's division's presidents. Id. During these
meetings, Jacobs, Polson and other PSI executives
discussed detailed financial reports for each PSI division
and inpatient facility. Id. With Defendant Brent Turner
and Jacobs, Polson sets PSI's facilities' budgets, including
capital allocated to staffing. Id. During the Class Period,
Polson signed SEC ffilings and Sarbanes-Oxley
certifications. Id.

Since August 2005, Defendant Brent Turner has
served as PSI's executive vice president for finance and
administration. Id. at §] 24. In this position, Turner works
with Jacobs and Polson to set PSI's facilities' budgets,
including capital allocated to staffing. Id. Beginning in
February 2003, Turner served as PSI's vice president,
treasurer and had responsibility for investor relations. Id.

2. PSI's Business Practices

According [*10] to the amended complaint, in 1999
PSI decided to expand its services to inpatient hospitals
and centers. Id. at § 28. In 2002, PSI merged with the
PMR Corporation and acquired five hospitals. Id.
Between 2002 and 2007, PSI acquired more than 90
hospitals and centers averaging 17 such acquisitions per
year. Id. at {| 28, 29, 41. PSI financed these acquisitions
with $620 million in guaranteed notes, a line of credit and
secured loans from lenders. Id. at § 30. By the end of
2007, PSI's various debts exceeded $650 million with
interest rates between 6.4% and 7.1% interest. Id.
Plaintiffs allege that by May 2007, PSI had a maximum
leverage ratio of 5.5x PSI's adjusted EBITDA (Earnings
Before Interest Taxes Depreciation and Amortization). Id.
In December 2007, a Credit Suisse analyst cited PSI as
“among the more successful health care service rollups in
recent memory." Id. at J 28.

Defendants allegedly stated that PSI could leverage
its debt through 7% to 9% growth from existing facilities
on an annual basis. Id. at 7 31. Between 2002 and 2008,
PSI repeatedly told investors to expect and stated that PSI
had delivered a growth in "same facility" revenues of 7%
to 9% per year. Id. at | 2. [*11] Plaintiffs alleged that to
do so, Defendants essentially were purchasing earnings
by using debt to buy facilities to increase PSI's annual
revenue. Id. at 7 31. Investors raised questions about
PSI's "rollup strategy" based upon acquisitions and the
viability of this strategy. Id. In March 2008, after PSI's

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acquisition of five facilities in the first quarter of 2008, a
Credit Suisse market analyst wrote that PSI “historically
.. has overpaid for assets, in an attempt to drive the
income statement, yet disregarding the balance sheet." Id.

PSI's 2007 10-K Report, issued on February 28,
2008, assured investors of PSI's continuing viability and
explained PSI's plans to continue growth by acquisition
of existing psychiatric hospitals and residential treatment
centers:

Our Growth Strategy We have
experienced significant growth in our
operations as measured by the number of
our facilities, admissions, patient days,
revenue and net income. We intend to
continue successfully growing our
business and increasing our profitability
by improving the performance of our
inpatient facilities and through strategic
acquisitions. The principal elements of
our growth strategy are to:

o Continue to Drive
Same-Facility [*12]
Growth -- We increased our
samefacility revenue by
approximately 6.5% for the
year ended December 31,
2007 compared to the year
ended December 31, 2006.
Samefacility revenue also
increased by approximately
9.0%, 8.0%, and 9.0% for
the years ended December
31, 2006, 2005, and 2004,
respectively, compared to
the immediately preceding
years. Samefacility revenue
refers to the comparison of
the inpatient facilities we
owned during a prior period
with the comparable period
in the subsequent period,
adjusted for closures and
combinations for
comparability purposes.
We intend to continue to

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increase our samefacility
growth by increasing our
admissions and patient days
and obtaining = annual
reimbursement rate
increases. We plan to
accomplish these goals by:

0
expanding
bed capacity
at our
facilities to
meet
demand;

0
expanding
our services
and
developing
new services
to take
advantage of
increased
demand in
select
markets
where we
operate;

oO
building and
expanding
relationships
that enhance
our presence
in local and
regional
markets;

0
developing
formal
marketing
initiatives
and
expanding
referral
networks;

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and

0
continuing
to provide
high quality
service.

o Grow’ Through
Strategic Acquisitions"
[*13] Our industry is
highly fragmented and we
plan to selectively pursue
the acquisition of additional
inpatient behavioral health
care facilities. There are

approximately 500
freestanding acute and
residential treatment

facilities in the United
States and the top two
providers operate
approximately one-third of
these facilities. We believe
there are a number of
acquisition candidates
available at attractive
valuations, and we have a
number of potential
acquisitions that are in
various stages of
development and
consideration. We believe
our focus on _ inpatient
behavioral health care
provides us with a strategic
advantage when assessing a
potential acquisition. We
employ a disciplined
acquisition strategy that is
based on defined criteria,
including quality of
service, return on invested
capital and _ strategic
benefits.

o Enhance Operating
Efficiencies -- Our
management team has

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extensive experience in
the operation of
multi-facility health care
services companies. We
intend to focus on
improving our
profitability by
optimizing staffing ratios,
controlling contract labor
costs and reducing supply
costs through group
purchasing. We believe
that our focus on efficient
operations increases our
[*14] profitability and
will attract qualified
behavioral health care
professionals and
patients.

Id. at § 32 (emphasis added).

PSI's 2007 10-K Report cited PSI's "[d]emonstrated
ability to identify and integrate acquisitions" as a
competitive strength, and its rigorous due diligence
review, disciplined acquisition strategy, and
comprehensive post-acquisition strategic plans to
improve revenues and the quality of patient care:

We attribute part of our success in
integrating acquired inpatient facilities to
our rigorous due diligence review of these
facilities prior to completing the
acquisitions as well as our ability to retain
key employees at the acquired facilities.
We employ a disciplined acquisition
strategy that is based on defined criteria
including quality of service, return on
invested capital and strategic benefits. We
also have a comprehensive
post-acquisition strategic plan _ to
facilitate the integration of acquired
facilities that includes improving facility
operations, retaining and _ recruiting
psychiatrists and expanding the breadth
of services offered by the facilities.

Id. at | 33 (emphasis added).

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As to delivery of its services, PSI's 2007 10-K
Report filed with the SEC stated [*15] that PSI's
hospitals “provide the most intensive level of care,
including 24-hour skilled nursing observation and care,
daily interventions and oversight by a psychiatrist and
intensive, highly coordinated treatment by a
physician-led team of mental health professionals." Id.
at | 107 (emphasis added). This 2007 10-K Report also
informed investors that PSI could manage this growth
without sacrificing "our reputation for the quality of our
services" or jeopardizing its "recruitment of first rate
medical staff," both of which allowed PSI to
"differentiate ourselves from our competition." Id. at |
34. As to the quality of PSI's treatment facilities, the
report cited the "[t]wenty-four hour observation and care"
at its residential treatment centers and PSI's ability to
“provide services to patients with multiple issues and
specialized needs" that resulted in numerous out-of-state
referrals of patients to PSI's facilities. Id.

This 2007 report assured investors that PSI was
operating its facilities in compliance with regulatory
requirements and operating standards:

Regulation and Other Factors

Licensure, Certification and
Accreditation Health care facilities are
required to comply with extensive [*16]
regulation at the federal, state and local
levels. Under these laws and regulations,
health care facilities must meet
requirements for state licensure as well as
additional qualifications to participate in
government programs, including the
Medicare and Medicaid programs. These
requirements relate to the adequacy of
medical care, equipment, personnel,
operating policies and procedures, fire
prevention, maintenance of adequate
records, hospital use, rate-setting, and
compliance with building codes and
environmental protection laws. Facilities
are subject to periodic inspection by
governmental and other authorities to
assure continued compliance with the
various standards necessary for licensing
and accreditation.

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All of the inpatient facilities operated
by us are properly licensed under
applicable state laws. Most of the inpatient
facilities operated by us are certified under
Medicare and/or Medicaid programs and
accredited by The Joint Commission, a
functional prerequisite to participation in
the Medicare and Medicaid programs.
Should any of our inpatient facilities lose
its accreditation by The Joint Commission,
or otherwise lose its certification under the
Medicare and/or Medicaid [*17] program,
that inpatient facility may be unable to
receive reimbursement from the Medicare
and/or Medicaid programs. If a provider
for who we provide contract management
services is excluded from any federal
health care program, no services furnished
by that provider would be reimbursed by
any federal health care program. If one of
our facilities is excluded from a federal
health care program, that facility would
not be eligible for reimbursement by any
federal health care program.

We believe that the inpatient
facilities we own and operate generally
are in substantial compliance with
current applicable federal, state, local
and independent review body
regulations and standards. [*18] The
requirements for licensure, certification
and accreditation are subject to change
and, in order to remain qualified, it may be
necessary for us to affect changes in our
inpatient facilities, equipment, personnel
and services. Additionally, certain of the
employed and _ contracted personnel
working at our inpatient facilities are
subject to state laws and regulations
governing their particular area of
professional practice. We assist our
managed client hospitals in obtaining
required approvals for new programs.

Id. at § 107 (emphasis added).

The 2007 Report on Form 10-K further asserted that
PSI had an extensive control system in effect to ensure
the "identification and connection of any actual or

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perceived violations." Id. at ¢ 108. The 2007 Form 10-K
Report further assured investors that PSI's operations
were "continually assessed and monitored" to assure "the
highest quality of care." Id. at § 110.

We strive to improve the operating
results of new and existing inpatient
behavioral health care operations by
providing the highest quality service,
expanding referral networks and
marketing initiatives and meeting
increased demand for behavioral health
care services by expanding our services
[*19] and developing new services. We
also attempt to improve operating
results by optimizing staffing ratios,
controlling contract labor costs and
reducing supply costs through group
purchasing.

* OK

The services provided at each
inpatient facility are continually
assessed and monitored through an
ongoing quality improvement program.
The purpose of this program is to strive for
the highest quality of care possible for
individuals with behavioral health issues,
and includes regular site visits to each
inpatient facility in order to assess
compliance with legal and regulatory
standards, as well as adherence to our
compliance program. Standardized
performance measures based on a national
outcomes measurement data base
comparing our inpatient facilities’
performance with national norms are also
reported and reviewed and corrective steps
are taken when necessary.

Id. at FJ 109, 110 (emphasis added).

According to Plaintiffs, to meet PSI's financial
expectations, Defendants, in fact, began cutting staffing
levels at numerous PSI facilities to meet PSI's budget and
staffing ratios. Id. at {J 35-37. Plaintiffs allege such
reductions caused insufficient staff to ensure patient
safety and allegedly rendered [*20] compliance with
applicable licensing and regulatory requirements

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extremely difficult. Id. Plaintiffs allege that PSI's
corporate headquarters pressured its facilities’
management for frequent cuts in staffing, id. at {| 38-39,
that left fewer employees to monitor patients, and
allowed the assaults, rapes or sexual molestations of
unsupervised patients or suicidal acts by patients. Id. at ]
41. These incidents gave rise to regulatory violations that
jeopardized PSI's facility's license and revenues. Id. at [J
40-41. According to Plaintiffs, PSI's focus on increasing
patient-employee ratios jeopardized the safety of
children, teenagers and other patients at its facilities, as
reflected by the following allegations. Id.

3. State Enforcement Actions against PSI

In a February 27, 2006 letter, the Virginia
Department of Mental Health, Mental Retardation and
Substance Abuse Services informed PSI of its findings
that PSI's 103-bed facility in Virginia, acquired by PSI in
April 2003, was in violation of numerous state laws
concerning patient care. Id. at § 48. The Virginia agency
found PSI had provided "overall inadequate medical care
due to the understaffing of care and nursing staff to
address [*21] the needs of the number of residents." Id.
This letter notified PSI of Virginia's officials’ intent to
revoke the facility's license. Plaintiffs allege that PSI has
made substantial efforts to conceal such violations,
including by influencing regulators to withhold sanctions
or penalties that could bring such incidents to light. Id. at
q 148.

Plaintiffs' amended complaint sets forth other state
enforcement actions against PSI facilities in several
states:

After a five-year-old patient was
sexually abused by a 12-year-old patient at
the 88-bed Bryn Mar Hospital in North
Carolina, acquired by PSI in June 2003,
the North Carolina Department of Health
and Human Services found in June 2007
that PSI had failed to protect patients
after incidents of sexual abuse, lacked
systems needed to identify the risks of
sexual abuse, and -- in 40% of the cases
reviewed - failed to report sexual abuse
promptly to authorities. Records
supplied to investigators further showed
that, PSI failed to provide sufficient
monitoring of potential sexual abusers

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in 40% of the cases reviewed and failed
to monitor patients with suicidal
tendencies in 20% of the cases reviewed.

In June 2007, the Texas Department
of Health [*22] & Human Services
concluded an investigation into a May 6,
2007 incident at [PSI's] Cypress Creek
Hospital where a suicidal patient who was
supposed to be monitored every 15
minutes had slit his wrist in the shower,
passed out and remained unconscious for
more than five hours while the shower
flooded his room, then regained
consciousness and walked to the nurses
station where the self-inflicted injury was
finally discovered. Records from the
96-bed hospital -- acquired by PSI in
September 2001 -- showed no rounds
were performed during the entire time
the patient was unconscious. Upon
review of records of care provided to
another 15 patients at the hospital, the
agency found that PSI had provided
none of them with a safe setting for
treatment.

On September 17, 2007, the Carolina
Department of Health & Human Services
made a finding of immediate jeopardy
against PSI's 108-bed Holly Hill Hospital,
acquired by PSI in December 2001. The
Department found numerous instances
of providing drugs to the wrong
patients and administering drugs
without a doctor's order. Medication
errors have frequently been linked to
understaffing of nurses.

California authorities have reported
significant quality of [*23] care problems
at the 72-bed Sierra Vista Hospital,
acquired by PSI in July 2005, including
medical errors and patient deaths.
According to UIC, which "examined more
than 500 pages of surveys at Sierra Vista,"
"Surveys conducted by the California
Department of Health underscored
repeated issues about understaffing,
patient safety, medication

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administration, poor supervision and
staff training, and an array of serious
quality of care violations."

Id. at {| 56 (emphasis added). PSI's California facilities
were cited for deficiencies of abuse and mistreatment of
patients 29 times between January 2005 and June 2008,
compared with just six citations for Universal Health
Services, Inc. ("UHS"), a PSI competitor, in the same
period. Id. at J 58. The alleged primary reason for this
state regulatory finding was understaffing at PSI
facilities. Id. at | 59.

On April 13, 2009, the Illinois Department of
Children and Family Services issued the report of the
department of psychiatry at the University of Illinois at
Chicago ("UIC") and Illinois Department of Public
Health ("IDPH") investigators that made a "consistent set
of findings" of problems arising at PSI's Riveredge
hospital. Id. at ff 11, 77. [*24] This report cited a
"pattern of quality care and patient safety problems” at
PSI facilities. Id. at | 78 (emphasis in original). The
Illinois report found repeated instances of inadequate
documentation, "[q]Juestionable or poor quality of
individual therapeutic services," an "[u]nstructured,
chaotic milieu" that was counterproductive to treatment,
"[ujnit staff often poorly trained and supervised for their
jobs," "[iljneffective monitoring creat[ing] serious risks
for patient safety," and improper discharge and discharge
planning of patients. Id. at | 77. These conditions caused
"sexual assaults; negligent supervision; physical harm to
patients; a violent group outburst that required police
intervention; and the death of a pregnant patient (not a
DCFS ward), that has raised serious questions about the
lack of reporting of the incident by Riveredge officials to
Illinois authorities.” Id.

4. Media Reports on PSI's Practices

On July 17, 2008, Chicago Tribune reported on
numerous abuses at PSI's Riveredge Hospital:

Illinois’ largest psychiatric hospital left
sexual predators unguarded despite
allegations that at least 10 mentally
disabled children were assaulted during
the last three years. [*25] The youngest
victim was an 8-year-old state ward
admitted for evaluation after expressing
suicidal thoughts. Administrators at west

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suburban Riveredge Hospital and
government authorities failed to share
basic information as the savage violence
left some youth worse off than when they
arrived, a Tribune investigation found.
After the newspaper asked about the
series of assault reports, the state
Department of Children and Family
Services last week stopped admitting
wards to Riveredge -- a punishment
imposed on just three other psychiatric
hospitals since 2004, records show. On
Wednesday, agency officials announced
that the Tribune's findings had prompted
them to immediately impose changes,
including new training for child-protection
workers and better reporting of assault
allegations.

Id. at {| 49-50 (emphasis added).

Plaintiffs’ amended complaint summarizes
specific disclosures from this article that are set forth
below for the time period from 2005 to 2007:

After a 19-year old reported being raped
by another patient in the Hospital in 2007,
records reviewed by the Tribune showed
that, despite having found evidence of the
attack -- drops of blood in the bathroom
where the attack was [*26] alleged to
have occurred -- the hospital didn't send
the victim to a local emergency room,
didn't report the allegations to local police,
and didn't assign an aide to maintain the
required one-on-one observation on the
attacker. The attacker struck the same
victim again the next day, government
records show.

The newspaper recounted a similar
2006 incident in which a 12-year-old
patient was raped by his 15-year old
roommate, who was being treated for
sexual aggression. "I told Riveredge over
and over again, 'Do not put anybody in the
room with this boy," the attacker's mother
told the newspaper. The newspaper
recounted a police report of the attack
which similarly quoted the boy's mother as

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telling police that "she informed them
when [her son] was admitted that he
needed his own room ... so just as much
blame should be on the hospital [as on her
son, the attacker] for creating the
environment for the incident to occur."

At 9:00 p.m. on December 31, 2006,
local police responding to an anonymous
911 call from within the Hospital of a
fight in progress were refused admittance
by hospital employees. On New Year's
Day, a woman reported her teenage son
"had been battered in the melee." A
hospital [*27] worker told the mother that
a staff member had punched her boy in the
eye, but no incident reports of the fight
were available. Illinois Department of
Public Health investigators were similarly
stonewalled when they tried to look into
the incident, reporting that "the hospital
was unable to accurately identify the
actual number of participants" in the
melee.

Riveredge similarly failed to promptly
notify DCFS of a July 5, 2008 fight in the
adolescent boys unit. Between 2005 and
2007, police and_ state surveyors
investigated reports that eight young
patients were injured in non-sexual
assaults. Riveredge staff or contract
employees were accused in four of those
alleged attacks. The attacks included a
March 19, 2007 incident reported by a
clinical social worker, in which two
Riveredge workers had battered a
16-year-old bipolar patient who resisted
getting a shot.

When police tried to investigate the
July 5 melee, the hospital's human
resources department was "unable to
provide the names and addresses of the
offenders or witnesses." When police
tried to investigate another fight at the
hospital, on October 25, 2007, a hospital
employee refused to turn a video of the
incident over the police, [*28] telling
officers she needed permission of PSI's

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risk management specialist before she
could do so.

In at least four cases since 2006, the
Tribune reported that government
inspectors cited Riveredge for
improperly sedating children with
powerful psychotropic drugs. In 2006,
Riveredge administered forced medication
to a bipolar 12-year-old three times
without notifying a guardian actively
involved in his care, an Illinois Human
Rights Authority report stated.

Id. at | 52 (emphasis added). In a follow-up article on
February 26, 2009, the Chicago Tribune reported that
sexual assaults by unsupervised patients continued at
Riveredge weeks after the newspaper's original report. Id.
at 7 55. According to Plaintiffs, Riveredge incidents were
reflective of conditions at other PSI hospitals and
residential treatment centers that PSI acquired years
earlier because Defendants were struggling under
increasingly tight budgets necessary to sustain PSI's
apparently misleading and stated track record of
providing 7% to 9% same facility revenue growth every
year. Id. at J 56.

After the Tribune’ s initial report, other media
organizations investigated PSI's operations around the
country, finding similar [*29] patterns of abuse and
mistreatment of children and adolescents being treated at
PSI hospitals and residential facilities. On November 22,
2008, the LA Times and ProPublica, an independent,
non-profit public interest media, co-published their
investigation about "a string of cases involving abuse and
neglect at PSI facilities nationwide." Id. at § 57.
ProPublica found that "[s]ome of the PSI hospitals most
under fire from authorities are those the chain has owned
longest. . . Since 2005, the 10 hospitals PSI has owned
longest have compiled almost twice as many
patient-care deficiencies as 10 similar hospitals owned
by its closest competitor, Universal Health Services
Inc." Id. at § 58 (emphasis added).

On January 12, 2009, the Dallas Morning News
published the results of its investigation of PSI facilities
in Texas, recounting numerous incidents of violence,
abuse, and injuries of patients at PSI's Laurel Ridge, The
Oaks and San Marcos Treatment Centers in Texas.

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[Texas government inspection and
investigation] records say, "the facility
failed to provide adequate numbers of
qualified personnel" when a 13-year-old
patient was injured while being restrained
by a staff member. In another [*30]
incident, a 14-year-old patient [was
injured] in sexual activity with another
patient. The investigator concluded that
"the facility failed to direct, monitor
and evaluate the care of patients."
Center management also neglected to
monitor patients sufficiently, an
investigator found, when a 17-year-old
patient with a "long history of violent and
disruptive behavior" attacked another
teenage patient . . . . [A] 13-year-old boy
with Asperger's syndrome was ill for three
days with acute respiratory problems and
pancreatitis but did not see a doctor... .
"The child almost died," the
investigator wrote. . . . On numerous
occasions, investigators found, center
administrators were aware of serious
problems but did not act properly. In
one case, a state finding said, "facility
administration" knew of a_ sexual
relationship between a staff member and a
16-year-old resident, but did not report it
to licensing authorities. . . . In 2007, two
suicide attempts by children were not
reported to the state.

Id. at 64 (emphasis added).

PSI's San Marcos' facility received 52 citations after
one inspection and in 2007, the Laurel Ridge facility
received 92 citations after 36 inspections resulting [*31]
in a state finding of "inadequate staffing." Id. at [| 65, 66.
According to the Morning News report, PSI's facility
staff "made numerous requests of the administration
to increase staffing levels." Id. at { 65 (emphasis added).
After calling in a Swat Team for one incident, a PSI
clinical therapist is reported to have stated: "It is always
felt like they were putting out fires instead of making
things fire-retardant." Id. PSI operates 15 facilities in
Texas and was fined $230,000 for violations by the state
health department in 2007, nearly as much as all other
Texas hospitals combined. Id. at 4 65. The Morning
News article also described incidents reported by the

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Tribune and by ProPublica and the LA Times about other
PSI facilities. Id. at 7 64.

According to a February 21, 2010 article in the
Richmond Times-Dispatch, following a series of
incidents in which PSI failed to report and actively
attempted to conceal patients' suicide attempts and other
patient incidents at PSI's The Pines facility. Id. at { 148.
In the spring of 2009, Virginia officials took steps to
downgrade PSI's license to provisional status -- the most
serious sanction short of shutting down the facility, and
one that [*32] was likely to result in lost admissions and
negative publicity. Id. Citing e-mails and other
documents obtained through a Freedom of Information
Act request, the newspaper reported that the action was
quashed by the state's Mental Health Commissioner, Dr.
James S. Reinhardt, who subsequently left his post to
become a PSI consultant. Id.

Plaintiffs allege that as reflected in the state
enforcement actions and the Tribune, ProPublica, LA
Times, Morning News, and Richmond Times-Dispatch
articles and other sources, PSI employees repeatedly
failed to report timely, completely or accurately, patient
incidents at PSI's inpatient facilities and actively
concealed such problems that should have been reported
to state regulators. Id. at ¢ 181. Thus, Plaintiffs assert that
PSI had continuing issues with regulatory compliance
and abuse incidents in PSI facilities that were not
disclosed to investors. Id. at [J 43-46.

5. PSI's Responses to Published Reports

As to awareness of media reports generally, Jacobs
admitted that he and other PSI executives had advance
notice of media investigations that were later published.

[ANALYST:] Okay. And then can I just
ask a question with regard to how you're
educating [*33] your referral sources.
You've obviously, some bad headlines
which we would all like to see you avoid
going forward, but in those markets where
-- that may have had some impact in your
referral sources, perhaps, can you just talk
to us about how your compliance team is
educating referral sources with regard to
your outcomes? If there's any different
process there?

[JACOBS:] We know’ when

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someone's out there, doing a story, and
we have -- by the time the story is
written, we kind of know where they're
going to focus. Fortunately for us, they
keep focusing on very old stories, very
old incidents, so we do give state
agencies joint commission, referral
sources heads up ahead of time so they
are not surprised or read it in the paper
and I think our operations team in
conjunction with Kathy Bolmer and the
Compliance and Quality Department do a
good job of reaching out to those sources
and providing more detail surrounding the
events and that the subsequent appropriate
agency has reviewed those incidents that
are occurring.

Id. at | 47 (emphasis added).

As an example, Plaintiffs allege that after a report
about a series of assaults and allegations of sexual and
physical abuse at PSI's Whisper Ridge [*34] residential
treatment center in Charlottesville, Virginia, Jacobs told
investors during an April 27, 2006 investor call that the
incident was "isolated" and that a new chief executive
officer installed in February was "making great progress
there." Id. at § 48. According to Plaintiffs' amended
complaint, the problems at Whisper Ridge were strikingly
similar to and indicative of problems caused by
understaffing at other PSI facilities, including Riveredge,
that were disclosed during and after the Class Period. Id.

In its July 30, 2008 press release on its financial
results for the second quarter 2008, PSI did not mention
any problems at Riveredge or the Tribune's report. Id. at |
119. This press release raised PSI's financial guidance for
the year based on the purported strength of PSI's financial
results. Id. at | 119. Yet, on July 31, 2008, during the
second quarter 2008 investor conference call, Jacobs first
commented to investors about the Riveredge issues and
the Tribune report. Id. Jacobs allegedly downplayed the
Tribune report of two weeks earlier as involving
historical incidents that did not reflect current operations
at Riveredge or other PSI facilities. In his concluding
remarks, [*35] Jacobs stated:

[JACOBS:] Before closing my remarks,

I'll add that many of you are aware of a
story that was published in a Chicago

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newspaper on July 17 about incidents
that occurred in 2007 and 2006 at
Riveredge Hospital. This is not the first
story about incidents at one of our
facilities, and it won't be the last. So I'd
like to share my perspective.

First, these types of unfortunate
incidents do occur in this patient
population. Minimizing and eliminating
these types of incidents is one of PSI's
top priorities. We take continuous
improvement of quality, safety and risk
management very seriously, and we
have built avery effective
infrastructure over the past several
years.

As a matter of practice at all our
facilities, we thoroughly report incidents
to relevant agencies as soon as possible
and work directly with agencies to
continuously improve safety and quality
in a timely manner. The incidents
referenced in the newspaper story were
reported to the relevant agencies and
appropriate corrective actions were taken
in 2006 and 2007.

Second, it is also important to
understand that we operate in a highly
regulated industry with nearly continuous
oversight. Our facilities are surveyed
multiple [*36] times each year on
average and less than 1% of these
surveys result in serious deficiencies, a
testament to our diligent efforts to
continuously improve risk management,
safety and quality.

We are pleased with this track record
in light of the fact that we are providing
more than 2.7 million patient days of
treatment annually. Just before the story
was published, the Department of Children
and Family Services placed an admissions
hold on  Riveredge. Riveredge is
currently in discussions with DCFS and
expects to conclude those discussions
soon. As a result, we don't expect a
material adverse financial impact from

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the admissions hold.

Id. at | 124 (emphasis added).

Plaintiffs allege that when analysts pressed for more
information about the Riveredge incidents during the
2008 conference call, Jacobs continued to discount their
significance and repeatedly and falsely suggested that the
Tribune's report was based on dated historical
information. Id. at § 125. In response to one analyst's
question, Jacobs responded that "We have taken action
back in '06 and '07. But once again, if they want to
come in and take a relook at it, that is okay with us." Id.
(emphasis in original). During that call, [*37] Jacobs
reiterated to another investor, "the stories in the
Chicago [Tribune], those were 2006 and 2007
incidents, and the quality is better there; the
management team is better there, and will continue to
get better." Id. (emphasis in original).

During this 2008 conference call, Jacobs specifically
denied that PSI was violating regulatory requirements by
failing to report the incidents as they occurred, as
reported in the Tribune articles and later ProPublica, LA
Times and other media reports:

[Wle are in compliance with those
states on reporting. We know when to
report, how to report. And also PSI
captures incidents that you don't report,
that we are looking for minor incidents.
We want to fix those so those don't
become major incidents. So for PSI, we
capture much more than we actually have
to report, but we do diligently report
anything that an agency needs to see. . .
[W]e think we _ have _ reported
appropriately, and the intent was
absolutely to always report.

Id. at { 126 (emphasis in original).

When asked to comment on the "negative story on
the company" that PSI had "grown so fast that you've lost
span control and the quality issues are systemic because
of the growth," Jacobs attributed [*38] the problems to
PSI's patients:

[JACOBS:] Unfortunately, we take
care of very difficult patients. I want

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them all not to have incidents, but some
incidents will occur, and we do our level
best to go back and put the resources back
to correct it. But as far as noise from the
shorts or a negative newspaper article, as I
mentioned earlier, we could have one
today, or we could have one 30 days from
now that somebody wants to write a story
about us.

* kk

Now, from the risk management side,
when you take these incidents and put
them through the actual oral process and
through our risk management, we have
great results there. So there is a
disconnect between the sensationalism
of an incident that might get put in the
paper versus the actual reality.

Id. at { 127 (emphasis and asterisks in original). Plaintiffs
allege that during this conference call, Defendants
repeatedly assured investors that the government
investigation of that facility, including the new admission
hold imposed by the Illinois agency, did not and would
not have any material impact on PSI's operations. Id. at
q¥ 128, 152, 153.

On July 31, 2008, PSI filed its Form 8-K Report with
the SEC stating that PSI "has received a subpoena [*39]
from the Department of Justice requesting certain
information regarding Riveredge Hospital, one of PSI's
inpatient psychiatric facilities in Chicago, Illinois. PSI
stated its intention to provide the requested information
to the Department of Justice," but did not disclose when
the subpoena had been received, nor did PSI attach a
copy of the July 30, 2008 subpoena to its Form 8-K
Report. Id. at § 118.

Plaintiffs allege that based upon Jacobs' responses to
the Tribune account of the Riveredge problems,
numerous market analysts issued positive reports
dismissing the events in the article as old news and
isolated incidents that are not reflective of any systemic
problems in PSI's operations. Id. at | 128. Plaintiffs cite
the following as representative examples of these
analysts' assessments:

o "The market, however, narrowly
focused on the DoJ investigation news,

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which we believe will prove to have
little-to-no operational impact. Headline
risk will likely always exist for this
company given the nature of its patient
population, and we believe the multiple
well more than discounts this risk given
the current growth prospects -- LT EPS
run-rate of 25+%. We would be buyers
here." (JP Morgan, [*40] July 31, 2008).

o "The company believes it reported
the events, which occurred in 2006 and
2007, appropriately to authorities and has
taken multiple steps since to improve the
quality at the facility. Admissions from the
IL Department of Children and Family
Services (DCFS) are still on hold.
Management expects the issue to be
resolved in the near term and does not
anticipate it having a material financial
impact." (Avondale Partners, August 1,
2008).

o [I]n our discussions with the
company, management highlighted the
fact that the admission ban only affects
those patients that would have been
admitted by the DCFS, which is
approximately 20% to 25% of total
admissions. The company is having
weekly discussions with DCFS, which are
expected to conclude in the near future,
and does not anticipate that the admission
ban will have a material adverse financial
impact. (Jefferies & Co., August 1, 2008).

Id. at { 128.

Plaintiffs allege, however, that ongoing undisclosed
and uncorrected regulatory violations occurred at other
PSI institutions involving quality of patient care and
safety and understaffing at PSI's other healthcare
facilities. Plaintiffs cite:

o at Sierra Vista Hospital in California,
[*41] which was then receiving the most
serious patient deficiency citations at
about eight times the statewide average
among private psychiatric hospitals in
California, as was reported by the LA

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Times in November 2008; and

o at Riveredge, where the continuing
failure to adequately monitor and ensure
patient safety at Riveredge had led to
additional incidents of a sexual assault and
sexual activity in the hospital's common
area dayroom in August 2008, as was
reported by the UIC in March 2009.

Id. at ¢ 132 (emphasis added).

After the ProPublica-LA Times November 2008
report, PSI responded that, "We do not believe that we
have fewer nurses per bed." Id. at J 62. In a letter, Jacobs
downplayed the reported incidents that ProPublica had
"focus[ed] on just a relatively few incidents and paint[ed]
an unfair picture" of PSI. Id. at { 62. Plaintiffs allege that
as with his earlier response to the Tribune investigation,
Jacobs described ProPublica-LA Times's reported
incidents as "unfortunate" occurrences and were not
reflective of PSI's current operations and stated that any
remedial measures “have long since been made." Id.

As to Jacobs's statements about PSI reporting
obligations seriously and a [*42] timely correction of
patient injuries or abuse at Riveredge, Plaintiffs allege
that:

o As reflected in UIC's report on
Riveredge, follow up surveys conducted
in September and October 2008 found
that the cited conditions at the hospital
remained uncorrected months after the
foregoing statements were made,
leading UIC and IDPH to conclude that
“such data indicates that Riveredge
officials are still failing -- even in the
fact of a critical IDPH finding as well as
other forms of outside scrutiny - to
ensure the hospital operates at
minimally adequate standards of care";

o Less than a week after the
conference call, IDPH found that
Riveredge had failed to notify the
agency of the death of one of its patients
in 2007 due to overmedication with
Clozaril, as required by law; and

o UIC's Riveredge report includes a

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similar account of an affidavit and
interview of a Texas investigator looking
into the case of the teenager who was
passed out for five hours in a shower
after a suicide attempt at PSI's Cypress
Creek facility, who indicated that
“hospital administrators appeared to
minimize or hide the reporting of this
incident to state officials."

Id. at J 133 (emphasis added).

Defendant Turner told [*43] investors at a
December 5, 2008 conference call: "There's always going
to be incidents that occur inside a psych hospital that you
would rather wish had not occurred. . ." Id. at ¢ 151.
When questioned further about the ProPublica article,
Plaintiffs allege Turner deflected, stating, "I'm not here to
talk about that." Id. at § 63. Thereafter, Plaintiffs allege
Defendants continued to deny that PSI's facilities were
understaffed or its workers poorly trained, and dismissed
the ProPublica/LA Times investigation as an unfounded
and overly sensational account, as Defendants had earlier
with the Tribune. Id. at § 151.

On January 13, 2009 -- one day after the Morning
News exposé of PSI's facilities in Texas, Turner and
Jacobs participated in a JPMorgan investor conference on
healthcare companies and assured investors of the safety
of patients under PSI's care and the quality of its
treatment. Id. at § 154. Jacobs stated that he was "very
pleased on our recent joint commission scores. Very, very
pleased with what we are scoring on their surveys." Id.
Jacobs told investors to expect data on PSI's core measure
compliance that would support his claims about quality.
Id.

After Jacobs’ remarks, Plaintiffs [*44] allege Turner
falsely assured investors of PSI's financial condition and
the continuation of its prior growth trajectory. Id. at
155.

«Our compliance program establishes
mechanisms to aid in the identification
and correction of any actual or
perceived violations of any of our
policies or procedures or any other
applicable rules and regulations. We
have appointed a Chief Compliance
Officer as well as compliance coordinators

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at each inpatient facility. The Chief
Compliance Officer heads our Compliance
Committee, which consists of senior
management personnel and two members
of our board of directors. Employee
training is a key component of the

compliance program. All employees
receive training during orientation and
annually thereafter.

* eK

In addition, our management has
spent, and may spend in the future,
substantial time and_ effort on
compliance measures...

Id. at 4] 108 (emphasis in original).

Following the end of the Class Period, PSI published
data on its website regarding its compliance with the
Joint Commission's core remedial measures. Id. at | 74.
Plaintiffs cite graphic statistical data revealing that at the
outset of 2009, PSI's hospitals and treatment centers
"were operating [*45] well below the Joint Commission
performance standards on six of the seven criteria." Id. at
q 74. Plaintiffs allege that a trend line analysis shows that
in 2008, PSI's core measures worsened. Id. at J 75. On
March 30, 2009, Illinois'’s 84-page report entitled
"Review of Riveredge Hospital," strongly criticized PSI's
patient treatment at Riveredge citing PSI's management's
lack of accountability and failure to take responsibility
and to correct systemic conditions that caused or
permitted patient mistreatment. Id. On Friday, April 3,
2009, the date UIC's report was published, PSI's stock
sustained a two-day drop the following week, when its
shares closed at $13.65, a drop of 14%. Id. at § 76.

6. Defendants' Statements on PSI's Finances

On February 28, 2008, PSI filed its Form 10-K
Report for the period ending December 31, 2007 with the
SEC, Id. at J 83. This Report included PSI's financial
statements for the fiscal year 2007 and the fourth quarter
of 2007, including PSI's reported earnings per share,
operating expenses, same facility results, revenue and
patient data, and other financial metrics described below.
Id. Plaintiffs allege that in its published guidance for
2008, Defendants [*46] artificially inflated its reported
eamings per share for the fiscal year 2007 and the fourth
quarter of 2007 by deliberately reducing of PSI's

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professional liability and malpractice reserves and
manipulating PSI's operating expenses that added $0.05
to reported earnings. Id. at { 84. PSI's language on PSI's
estimated reserves was as follows:

The self-insured reserves for
professional and general liability risks are
calculated based on historical claims,
demographic factors, industry trends,
severity factors and other actuarial
assumptions calculated by an independent
third-party actuary. . . . This estimated
accrual for professional and general
liabilities could be significantly affected
should current and future occurrences
differ from historical claim trends and
expectations.

(Docket Entry No. 111-1 at p. 15). Jacobs and Polson
signed this report with certifications under §§ 302 and
906 of the Sarbanes-Oxley Act of 2002. Id. at § 83.

In a February 20, 2008 press release entitled
"Psychiatric Solutions Reports a 27% Increase in Fourth
Quarter Earnings to $0.42 per Diluted Share," PSI and the
Individual Defendants reported PSI's financial results for
2007 that were disseminated to the [*47] market via
Business Wire, and thereafter by other news
organizations, financial analysts, and websites. Id. at
79. Defendant Jacobs is quoted in this press release, and
Defendant Turner is identified as the contact source for
further information about the release's contents. Id.
Plaintiffs’ amended complaint set forth specific
statements in this release as actionable:

Psychiatric Solutions, Inc. ("PSI") today
announced financial results for the fourth
quarter and year ended December 31,
2007. For the quarter, revenue increased
44.1% to a record $403.4 million
compared to the fourth quarter of 2006.
Income from continuing operations
increased 27.3% to $0.42 per diluted
share from the fourth quarter of 2006.

ke
Same-facility EBITDA margin

expanded 200 basis points to 22.2% for
the fourth quarter of 2007. Fourth quarter

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EBITDA margin for all facilities increased
70 basis points to 20.8%. Full year
same-facility EBITDA margin increased
150 basis points to 21.5% and total facility
EBITDA margin was 20.1%, an increase
of 30 basis points compared to 2006.

"PSI continued to produce
outstanding profitable growth for the
fourth quarter and full year 2007,"
remarked Joey Jacobs, Chairman,
President [*48] and Chief Executive
Officer of PSI. "Demand for high quality
inpatient psychiatric care continues to
expand in this capacity constrained and
very fragmented industry. We are well
positioned to achieve further significant
profitable growth for 2008 and beyond
through organic growth initiatives and
acquisitions.

"We are targeting 7% to 9%
same-facility revenue growth for 2008
once again. Work is already underway
to add nearly 600 beds in existing and
new facilities by the end of 2008, double
our normal targeted pace of expansion,
allowing us to treat patients that we do
not have the capacity to treat today.

"We are highly confident that we
will be able to acquire at least six
inpatient facilities during 2008. The
pipeline of potential acquisition
opportunities remains strong,
enhancing our ability to continue to
build a platform for future growth."

PSI is increasing its 2008 earnings
guidance range by $0.10 per diluted
share to $1.93 to $1.97 to reflect the
benefit of lower interest rates. As a result,
growth in 2008 earnings per diluted share
is expected to be 30% to 32% compared to
2007. In addition, PSI established its
guidance for earnings from continuing
operations for the first quarter [*49] of
2008 in a range of $0.42 to $0.43 per
diluted share. The Company's guidance
does not include the impact from any
future acquisitions.

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Id. at { 80 (emphasis in original).

On February 21, 2008, PSI hosted a conference call
to discuss PSI's 2007 financial results with institutional
investors and analysts from twelve Wall Street firms. Id.
at 7 81. Each of the Individual Defendants participated in
this conference call that was recorded and thereafter
made available on PSI's website. Written transcripts of
the conference call were also published and disseminated
by Thomson Reuters Streetevents and other sources. Id.
Plaintiffs cited Defendant Jacobs's statements during this
conference as actionable:

[JACOBS:] Thanks for being with us
this morning to review a strong fourth
quarter performance for PSI and another
great year. The continuing strength of
the PSI business model is evident in the
27% growth in earnings per diluted
share for the fourth quarter and 30%
growth in earnings for the year. These
results were at the top end of our guidance
for each period and after we revised our
annual guidance upward on two occasions
after first establishing it in October 2006.
In this respect we are [*50] also pleased
today to be increasing our guidance for
2008 and as a result of the recent decline
in interest rates.

Our earnings growth was driven by
44% increase in our revenue for the
fourth quarter and 45% for the year,
both of which establish new records for
the company. Consistent with our
historical performance we produced this
growth primarily through the addition of
beds to our operations, the great majority
of which resulted from acquisitions of
inpatient facilities.

We also benefited from _ solid
growth in same facility revenues of
6.5% for the year. True to our business
model, this growth generated additional
operating leverage, which we
complimented through ongoing
initiatives to improve productivity and
efficiency in each facility. As a result we

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produced a new record for same facility
EBITDA margin of 200 basis points to
22.2% versus the fourth quarter of
2006. This performance was primarily
accountable for the 49.1% growth in
PSI's consolidated adjusted EBITDA
for the quarter and its expansion as a
percentage of revenue. We remain
confident about our prospects to drive
facility revenue growth for 2008 in our
historic range of 7% to 9%.

We are enhancing our ability to
drive [*51] same facility performance
for 2008, as well as aggregate organic
growth through the planned addition of
nearly 600 beds in existing and new
facilities during the year. In addition,
PSI is well positioned to continue its
long-term acquisition strategy by
acquiring at least six inpatient facilities
during 2008. We have a strong top line of
candidates, a favorable _spricing
environment and the financial resources to
accomplish our goals.

In summary, let me repeat that what
you have heard before is we consider our
strong prospects for long-term profitable
growth. Our confidence in our future rests
on our ability to continue implementing a
proven business model and growth
strategy in an industry whose growth
dynamics remain very favorable for PSI.
Simply put we are the clear leader in a
highly fragmented capacity constrained
growth industry. While we never take
execution for granted, especially in terms
of providing the highest quality of care for
our patients and their families, we expect
the PSI team to continue leveraging our
strong momentum for future growth.

Id. at {] 82 (emphasis added).

During the 2008 conference call, several Wall Street
analysts questioned Jacobs for more information [*52]
on PSI's same facility revenue growth of 5.3% for the
fourth quarter 2007 and 6.5% for the full year and PSI's
forecast estimates of 7% to 9% growth. Id. at J 103.

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Jacobs responded that the 2007 shortfall was due to "bad
luck," and was not indicative of problems with or
maturation of PSI's acquisition strategy: "That 7% to 9%
was well within our grasp, and we just had some bad
luck." Id. at 4 103. Jacobs also stated: "But if you were
just to take our bottom three facilities - not the bottom 10,
just our bottom three facilities -- and we focus on them
and get them on the right track, we would have done well
above 7% for last year. So quite frankly, we can get
above 7% in '08 just by doing what we did last year
and just working on these three facilities." Id.
(emphasis in original). Defendant Jacobs also cited the
additional 600 beds to be acquired the next year as
"just... insurance," because PSI's "problems were
limited to a small number of facilities that if we just
fix, that 7% to 9% is there." Id. at { 103 (emphasis in
original).

In a February 2008 conference call with investors,
Jacobs admitted the account had been underfunded
throughout 2008, explaining that the reserve balance
[*53] should have been increased every quarter during
the Class Period, but admitted that the $0.05/share
increase in expenses was "a build-up that probably should
have been allocated one-fourth across all the quarters."
Id. at | 86. During the 2008 conference call, Jacobs
admitted that "the actual claim costs per claim is going to
go up. And has gone up over time." In response to an
investor's question, "when it became known to you that
you would have to take reserves?," Turner and Jacobs
admitted that their awareness of the need to increase in
reserve since at least December and that increased
operating expenses should have been reflected in each of
PSI's quarterly financial reports issued during the Class
Period. Id. at § 91.

On April 30, 2008, PSI issued a press release that
was approved by each of the Individual Defendants,
entitled "Psychiatric Solutions First Quarter Earnings
Increase 39.4% to $0.46 per Diluted Share," through
Business Wire and thereafter other news organizations,
financial analysts, websites and other sources of
information distributed this release. Id. at 4 112.
Defendant Jacobs is again quoted in this press release that
identifies Defendant Turner as the contact [*54] source
for further information. Id. at § 112.

During a May 1, 2008 conference call with nine Wall
Street firms on PSI's first quarter 2008 results with
institutional investors and analysts, all Individual

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Defendants participated and the contents of the call were
reported by news organizations, in analyst reports, and on
Internet sites and, as a result, became widely available to
investors and reflected in the market price for PSI
securities. Id. at | 114. At the outset of the call, Jacobs
made the following statement:

[JACOBS:] We appreciate your being
with us this morning to discuss an
outstanding performance by PSI for the
first quarter. As you can see from our
eamings release, we once again produced
very strong results. Given the acute focus
on our same facility revenue growth
metric, I am pleased to report that we
delivered 7.7% same-facility revenue
growth, solidly within the range we
target on an annual basis.

I would also like to highlight very
strong corporate wide growth. Total
revenue increased 33%, consolidated
adjusted EBITDA grew 43%, earnings
from continuing operations increased
39%. And, once again, we are raising our
earnings guidance again for the year,
and now expect § [*55] to deliver
earnings per share growth of 34% to
36% as compared to 2007.

Our strong growth reflects the
addition of the new inpatient beds,
primarily through acquisition. Since the
end of the first quarter of 2007, we
acquired 20 inpatient psychiatric facilities
with approximately 2000 beds in two
transactions. We completed the acquisition
of Horizon Health in May 2007, and
purchased the five facilities from United
Medical Corporation in March of this
year. We also purchased two EAP
companies during the first quarter of 2008.

We also continued to expand our bed
count through the addition of beds to new
and existing facilities. These beds will
help us meet increasing demand for
high-quality inpatient psychiatric care,
while serving patients whom we cannot
admit today. In the first quarter, we added

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approximately 80 beds, and we expect to
add another 250 beds in the second
quarter, of which more than 100 have
already opened. As we had previously
discussed, we are on track to add nearly
600 beds this year, and we continue to
believe we will have all of those beds
operational by late this year or very early
next year.

As I mentioned earlier, we were very
pleased with the 7.7% growth in PSI
[*56] same-facility revenue for the first
quarter, consistent with our annual target
of 7% to 9% growth for 2008. We
produced this growth in spite of the
negative effect of Easter shifting into the
first quarter this year compared with the
second quarter last year. The increase in
same-facility revenue resulted from a
2.4% increase in patient days and a 5.1%
increase in revenue per day.

Our  same-facility growth also
continued to drive increased operating
leverage. Our same-facility EBITDA
margin increased 180 basis points to
21.9% for the quarter. Considering this
was the first full quarter in which the
nine facilities acquired from ABS were
included in our same-facility base, this
growth demonstrates our ongoing
progress in operating those facilities
more effectively.

We also produced an increase of 80
basis points to 20.8% in EBITDA margin
for all of our facilities. This improvement
contributed significantly to the 120 basis
point increase in our margin for
consolidated adjusted EBITDA, which
totaled $77 million for the quarter, up 43%
from the first quarter of 2007.

Looking forward, we intend to
continue executing SI's proven
business model. Our pipeline of potential
acquisitions remains [*57] healthy in a
favorable pricing environment. And we
have the financial capacity to carry out our
plans. Steady growth in the industry

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demand also provides a solid foundation
for the growth in our existing facilities and
supports our development of new beds.

With an anticipated 7% to 9%
expansion in same-facility revenue
annually, we expect to continue
increasing our EBITDA margins over
time. We remain confident about our
ability to continue to expand our
same-facility EBITDA margin.

In summary, we are well-positioned
for future significant growth. We enjoy
positive industry conditions, a successful
strategy and a highly experienced
management team. As in the first quarter,
the key to leveraging this momentum is
primarily a matter of execution. And let
me assure you that we are very focused on
getting the job done.

Id. at 7 115 (emphasis in original). A broadcast of the call
remained available for at least 14 days thereafter on PSI's
website.

On May 6, 2008, PSI issued its Form 10-Q Report on
its financial results for the first quarter of 2008, citing
PSI's ability to improve operations, reduce costs and to
expand revenues at its facilities while providing high
quality care to PSI's patients. [*58] Jacobs and Polson
signed this Report and certified this report under the
Sarbanes-Oxley Act. Id. at 7 116.

During a July 31, 2008, PSI conference call on PSI's
second quarter 2008 results with institutional investors
and analysts representing 12 Wall Street firms, Jacobs
cited the improvement in PSI's existing facility revenues
and margins from the additional beds at those facilities,
but Plaintiffs allege Jacobs omitted that PSI facilities
were understaffed and underfunded as revealed by
problems at PSI facilities. Id. at 7 122, 123.

In a October 30, 2008 press release entitled
"Psychiatric Solutions Earnings Per Diluted Share
Increases 37.8% on 8.7% Growth in Same-Facility
Revenue," the Defendants describe PSI's third quarter
2008 financial results that included the following
narrative statements:

Psychiatric Solutions, Inc. ("PSI") today

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announced financial results for the third
quarter ended September 30, 2008.
Revenue was $448.0 million for the
quarter, an increase of 13.0% from $396.4
million for the third quarter of 2007.
Income from continuing operations rose
39.1% to $28.6 million for the quarter
from $20.6 million for the third quarter of
2007. Income from continuing operations
[*59] per diluted share increased 37.8% to
$0.51 for the third quarter of 2008 from
$0.37 for the third quarter of 2007.

Same-facility revenue increased
8.7% for the third quarter of 2008
compared with the third quarter last year.
This increase reflected same-facility
growth in net revenue per patient day of
4.8% and growth in patient days of 3.7%.
Same-facility EBITDA margin was 20.6%
for the latest quarter, up 60 basis points
from 20.0% for the third quarter of 2007,
while the EBITDA margin for all facilities
also increased 60 basis points to 20.5%.
PSI produced a  comparable-quarter
increase of 18.1% in consolidated adjusted
EBITDA to $80.6 million, which
increased as a percentage of revenue to
18.0% from 17.2%. A reconciliation of all
GAAP and non-GAAP financial results in
this release can be found on pages 6 and 7.
"PSI performed well for the third quarter,
with strong same-facility revenue
growth driving expanded profit margins,"
said Joey Jacobs, Chairman, President and
Chief Executive Officer of PSI. "The
addition of new beds throughout the
year has contributed to the increasing
rate of comparable-quarter growth in
same-facility patient days for three
consecutive quarters.

"The market [*60] demand for our
high quality inpatient psychiatric care
remains strong and has historically
intensified in difficult economic
environments. We plan to continue
expanding our ability to serve this
demand, both through the addition of new
beds in our facilities and the ongoing

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execution of our proven acquisition
strategy in a fragmented,
capacity-constrained industry. We are
well positioned to fund our anticipated
growth over the next year through
substantial cash flow from operations,
our existing cash and the availability under
our credit facility."

Based on the Company's results for
the third quarter and first nine months of
2008 and its outlook for the remainder of
the year, PSI today affirmed its guidance
for earnings from continuing operations
per diluted share for 2008 in a range of
$2.02 to $2.03, reflecting growth of 36%
compared with 2007. In addition, PSI also
today established its guidance for
earnings per diluted share for 2009 in a
range of $2.40 to $2.44, reflecting
growth of 18% to 21%.

Id. at | 136.

During an October 31, 2008 conference call on PSI's
third quarter 2008 results with institutional investors and
analysts representing 16 Wall Street firms, the Individual
Defendants [*61] participated, and Jacobs again touted
the purported quality of PSI's operations and the
improvement in existing facility revenues and margins:

[JACOBS:] PSI continued to perform
very well for the third quarter. We
produced growth of 8.7% in same-facility
revenue for the third quarter. The third
consecutive comparable quarter increase.
This growth by 13% increase in revenue
for the quarter, and also margin
improvement that resulted in a 38%
increase in earnings per diluted share.

As a result of this growth, we are on
track to achieve our earnings guidance
for full year 2008. We are very pleased
with our same-facility results. Earlier
this year we discussed our focus on
expanding same-facility patient days. For
the third quarter patient days increased
3.7%, a rate which is now also increased
over the third consecutive quarter. This

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improvement helped us produce our
highest rate of same-facility revenue
growth since the fourth quarter 2006.

As expected, the operating leverage
created through this substantial growth
resulted in higher profit margins. In
addition we are continuing our
initiatives to improve quality and
efficiency in each facility. As just one
example, we are currently engaged [*62]
in a process to standardize our automated
dispensing machines for medication and to
add these ADMs to facilities that don't
currently have them. ADMs have already
proven their ability to enhance the quality
of care, increase efficiency by automating
the distribution, tracking management and
security of medications, They contribute
to our greater patient safety and reduced
pharmacy costs. This initiative is
representative of our continuous efforts
to identify and implement best practices
within our facilities or within the
industry that are relevant to all of our
facilities.

Through our combined focus on
growth and increased efficiency, both
same-facility EBITDA to a percent of
revenue, and the EBITDA margin for
all facilities increased 60 basis points
over the third quarter last year. In
addition, consolidated adjusted
EBITDA grew 18%
quarter-over-quarter to [$80.6] million
for the third quarter. This growth
represented an 80 basis point increase
as a percentage of revenue to 18%
versus 17.2% for the third quarter last
year.

In an industry with steady growth in
demand, a significant portion of
samefacility growth reflects the addition
of new beds to existing facilities.

kk

Riveredge [*63] Hospital in Chicago
which as we've discussed in our

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conference call last quarter, had an
admissions hold placed on it by the Illinois
Department of Family Services in July.
During the third quarter, our same-facility
patient day growth was negatively
impacted by approximately 70 basis point
due to the lower census levels resulting
from this DCF admissions hold. This hold
is still in place; however we expect it to
be lifted in the current quarter. The
financial impact of the admissions hold
in complying with the DOJ investigation
cost us approximately 2% to 3%
earnings per share hit in the third
quarter.

To conclude my remarks today I'll
repeat what you've often heard me say.
Our confidence in the long-term growth
potential of PSI remains very strong. We
are the leader in a growing capacity
constrained industry. Our business model
and growth strategy have been
continuously refined and successfully
proven over the six years that we have
implemented (inaudible) as a _ public
company. As a result, our scale, our
resources, our management depth, and
capability have all increased enhancing
our ability to execute.

With continued strong execution we
expect to expand through both additional
facility [*64] acquisition and through the
development of bed for existing and new
facilities. We also expect to drive
enhance profit margins through growth
in samefacility revenue at our target rate
of 7% to 9% annually.

investigation declining significantly in the fourth quarter.
Id. at § 139. Jacobs explained: "most if not all of those
legal expenses are due to document production, and that's
just a one-time event." Id. Jacobs said those expenses
were included in the Company's fourth quarter guidance,
"but it's a lot less than we had occur in the third quarter."
Id. Jacobs also stated, "[W]e feel good about the quality
of care at Riveredge, and it's been reevaluated by
numerous people since the admissions hold." Id. at J 140.
Plaintiffs [*65] cite a colloquy with an analyst that
reveals the following:

[ANALYST]: A few questions. First it
sounds like your optimistic you're going to
lift the admissions hold at Riveredge in the
fourth quarter, and I know you've had
some optimism that was going to be
resolved sooner. What's your level of
confidence around that Joey?

[JACOBS]: I think its 80%. I think
it's 80%. I think it's 80%, it may be
January 1, be the date. But it could be next
week,

Id. at { 141. Jacobs described other PSI facilities with
problems as continuing to perform well after
implementing corrective measures. Id. at 142.

At a December 5, 2008 JP Morgan Small-Midcap
Conference transcribed by Thomson Streetevents,
Defendant Turner told investors:

[TURNER:] PSI has always been a
growth story. We have always been
excited to talk about our growth but of late
it is important to qualify and talk a little
bit more about the quality. If you know
what happens in a psych hospital, it's
tragic. It is very important that these folks

Id. at {J 137, 138 (emphasis in original).

During this call, as to the impact of the investigation
and Illinois's hold on Riveredge admissions, Jacobs
repeatedly told analysts that the problem was largely
behind PSI, but had caused a reduction of third quarter
earnings by $0.02- $0.03 per share and would impact
fourth quarter earnings by another $0.01-$0.03 per share.
Jacobs told investors that "We have that coming back
strong in '09" with legal expenses related to the

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are treated and stabilized. We do a great
job of treating patients inside of our
psychiatric hospitals. But we are not
perfect. There's always going to be
incidences that occur inside a psych
hospital [*66] that you would rather
wish had not occurred. But those are
very, very, very much the exception and
not the general rule. But unfortunately
when something like that happens, we

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tend to hear about it, read about it,
have people talk about it and all of a
sudden people think that is the norm.
What we try to do here on this slide is
just give you the perspective that it is
absolutely not the norm.

Oe

You can see we are surveyed by
multiple regulatory agencies and less than
1% of our surveys have historically
resulted in any kind of a serious
deficiency or sanction. We have
accreditation, licensing, certification and
accreditation from joint commission,
federal and state agencies that have
unilateral -- any time they want to come
into our facility 24 hours day, they can
come in unannounced and we welcome
that because we know what we are
doing inside of those facilities.

Id. at 9 151.

When asked about Riveredge at the December 5,
2008 conference, Turner responded:

[TURNER:] The admissions hold at
River Edge is really directly from the
Department of Children and Family
Services. They are the party that has the
admission hold. We are still under the
same -- there is no change since our last
update [*67] on the earnings call there.
That is still in place.

[AUDIENCE MEMBER]: Any sense
for the timing on that?

[TURNER:] Joey mentioned
(inaudible) this quarter and I don't have
anything updating from that.

earnings in February 2008, and (2) a reduction of PSI's
2009 earnings guidance by $0.14 per share at the
midpoint of the range. Id. at | 67. Plaintiffs allege that
these facts reflect that PSI's acquisition business model
was broken. Id.

During a February 26, 2009 conference call with
investors, Jacobs told investors PSI was actively working
behind the scenes to alert government officials and other
referral sources of the upcoming articles allegedly in an
effort to convince investors that the allegations were
untrue or overblown so governmental entities would not
stop sending patients to PSI facilities. Id. at § 47. In this
conference call with investors and analysts elicited angry
criticism over [*68] PSI's delayed disclosure of the
impact of regulatory problems, and Jacobs responded:

[JACOBS:] As discussed in our press
release, the fourth quarter earnings per
diluted share were impacted by one of the
Company's facilities in Chicago and
increase in the Company reserves for
general and _ professional liability
coverage. The Chicago facility suffered a
decline in operations of $0.03 relating to
an admissions hold. And professional fees
of $0.02 relating to an investigation. As a
result of our annual actuarial review we
determined that we needed to increase our
self insured reserves for general and
professional liability by $4.9 million or
$0.05 per share.

* OK

Our revised 2009 earnings guidance
of $2.24 to $2.32 represents earnings
growth of 17% to 21% before the effect of
any future acquisitions. We are lowering
our guidance to reflect the financial impact
of the following three issues. The current
economic enviromnent and the continued
admissions hold at our Chicago facility
resulted in lowering our revenues goals for

Id. at | 152.

Plaintiffs allege that PSI's February 25, 2009 release
of its fourth quarter 2008 financial results revealed: (1) a
20% miss in earnings as the result of lost business and
investigative costs at Riveredge and a reversal of the
reduction in professional liability reserves that boosted

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2009. Same store revenue growth is
expected to be mid single digits for the
year 2009, and lower single digits for the
first quarter. As we saw a softening in
patient [*69] days that began in October.

Number two, our guidance reflects the

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trending of general and professional
liability expense that we experienced in
2008. And three, the impact of
successfully amending our current
revolving credit facility.

Id. at J 68.

Jacobs described Riveredge alone as "probably
costing us 50 to 70 basis points against the same store
patient day comparison." Id. at 7 69. Jacobs informed
investors of an administrative hold on new admissions
until UIC completed its investigation and report of the
incidents there, but stated that the State requirements to
lift the hold had been accomplished. Id. One analyst
stated: "What you're saying is that you've done
everything the state has asked you to do and now you're
just waiting for them to sort of make sure that you really
have done those things with this outside survey and that's
what's holding up the process?," to which Jacobs
answered, "Correct." Id. Plaintiffs allege that UIC's final
report disclosed that PSI's problems had not been
corrected when Jacobs made that statement, however,
citing PSI for a string of continuing violations at
Riveredge and other facilities nationwide. Id. Moreover,
Plaintiffs allege this administrative [*70] hold has never
been lifted. Id.

During this conference call, Jacobs described a
"general softening" in this market and since October that
was a "general across the board" reduction in all but a
few PSI facilities. Id. at | 70. Plaintiffs allege that
notwithstanding PSI facilities’ problems in Illinois and
California, Jacobs attributed blame for PSI's declining
patients on Lehman Brothers: “It's just a general
softening that occurred in October and that was I guess
when banks started to fail, maybe Lehman Brothers
closed or whatever and we just -- the uneasiness, the
layoffs in the market just caused a softening in the
census, starting in October, across the board." Id.

On October 30, 2008, during PSI's third quarter 2008
conference call, Jacobs told investors that PSI expected
an increase due to the financial crisis because more
people struggled to cope with stress arising from lost
jobs, mortgages, and other financial problems: "The
market demand for our high quality inpatient psychiatric
care remains strong and has historically intensified in
difficult economic environments." Id. When pressed
about this issue by an analyst, Jacobs responded:

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The surprise to us in the fourth quarter
was [*71] October. For some reason, we
occasionally have a month like that, where
it's supposed to be a stronger quarter and
for -- I mean stronger month and for some
reason the month just wants to be soft and
at that time last year in September and
October, there was a lot of bad news going
out in the economy.

Id. at 971.

After ProPublica published reports of PSI's
regulatory and patient care issues at Riveredge on
February 26, 2009, PSI's stock dropped immediately by
$9.79 per share to close at $17.50 on February 26, 2009,
a 1-day decline of 35% on volume of more than 17
million shares, more than 19 times the average 3-month
daily volume. This stock price was PSI's lowest in trading
over four years. Id. at J] 72-73.

7. Defendants' Alleged False or Misleading Statements

Plaintiffs' claims for Defendants' misrepresentations
include statements from the 2007 reports, press releases
and conference calls about the quality of PSI's operations,
and the representations of productivity and efficiency at
PSI facilities with "higher quality care" for patients, as
materially misleading to investors. Id. at | 106 Plaintiffs
allege that these facts strongly infer that Defendants knew
or recklessly disregarded [*72] that the statements in the
2007 Report on Form 10-K and other press releases
would be, and were, misleading to and operated as a
fraud upon investors, at least in the following material
respects:

o Contrary to the claim that PSI
"provide[d] higher quality care than [its]

competitors" or the “highest quality
service," including "24-hour _ skilled
nursing observation" and "intensive,
highly-coordinated treatment," PSI's

facilities were staffed at levels far below
those necessary to provide such services,
and well below the levels of its
competitors, such that its incidence of
regulatory violations and patient safety
and quality of care problems was much
higher than that of its competitors, as

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alleged above and as
ProPublica, the LA Times and other media

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o Contrary to the claim that PSI's
facilities were in substantial compliance
with applicable federal, state, local and
independent review body regulations and
requirements --

o PSI facilities were
staffed below levels
necessary to assure proper
treatment of patients in a
safe and secure therapeutic
environment, or to monitor
patients at risk for harming
themselves and others, as
described above;

o PSI consistently
failed [*73] to promptly
report or accurately
document incidents of
actual or potential harm to
patients, and actively
delayed or concealed
reporting of a significant
number of events, as
described above;

o PSI was in violation
of other regulatory
requirements and standards
pertaining to staffing levels
and patient treatment, the
condition of facilities, and
medical record-keeping
practices; and

o Serious patient care
deficiencies were _ still
occurring at PSI hospitals
in California and would
continue to occur through
at least June 2008, as was
reported by ProPublica in
November 2008.

reported by

o The Company was not spending

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substantial time and resources on its
compliance programs, nor was regulatory
compliance a top priority for PSI --

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o According to former
PSI employees, the
Company was __ serious
about risk management
only, as one employee put
it, “until money was
involved." A former CEO
at two PSI hospitals echoed
this sentiment, saying there
was always a_ tension
between training and
budget - the Company
wanted employees to be
trained, s/he said, "but they
didn't want to spend a
month" doing it.

o Several PSI hospital
executives, when shown
organizational charts for
the Company's compliance
department or asked [*74]
who filled the compliance
or regulatory positions like
those described above, said
that they had never heard
those job titles being used
in the organization and had
no idea who, if anyone,
filled those
compliance-related roles.

o The statements that
PSI was successful in
improving results by
“optimizing [its] staffing
ratios, controlling contract
labor costs and reducing
supply costs" was
materially misleading
because it omitted to
disclose that the reductions
in staffing and expense
were below the level at
which PSI could operate its
facilities in a safe manner
or provide adequate - much

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less high quality - treatment
to patients; and

o The claim that
services at each facility are
“continually assessed and
monitored" and "corrective
steps are taken when
necessary" was materially
false and misleading
because, in reality, PSI
took corrective actions only
to avoid negative publicity,
and only to the extent to
create the appearance of
action without making any
meaningful changes in its
practices or operations, as
described in the UIC report
on Riveredge and other
sources detailed above.

Id. at 7111.

In summary, Plaintiffs allege numerous statements in
2007 were deliberately or recklessly [*75] misleading to
investors because PSI's problems were not limited to "a
small number of facilities," nor were the published
reports only "operational issues" or "bad luck," because
PSI had problems at multiple Texas facilities and other
PSI facilities in other states at the time of these
statements. Id. at § 105. Prior to and during the Class
Period, Plaintiffs allege as false and misleading
Defendants' assurances of their comprehensive
monitoring systems to detect potential problems before
their occurrence and their high-quality patient care in a
safe and secure environment and in compliance with
regulatory and licensing requirements. Id. at J 43.

As to Defendants’ statements about the condition of
PSI's finances, Plaintiffs cite the following statements:

o Contrary to the contentions that PSI
was providing "high quality" care and
demonstrating "outstanding growth" while
"improv[ing] productivity and efficiency"
of acquired operations, many PSI hospitals
and residential treatment centers were

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struggling under tight budgets that did not
permit the facilities to be operated in
compliance with regulatory requirements
or in a manner that provided adequate -
much less high quality - care to [*76]
patients in a safe therapeutic environment;

o The Company was attempting to
"double [its] normal targeted pace of
expansion" not because of the purportedly
"strong" "pipeline of potential acquisition
opportunities" or marketplace demand but
because the Company needed to accelerate
its acquisitions to cover up its inability to
continue squeezing growth out of facilities
it had previously acquired; and

o The Company could not achieve 7%
to 9% same facility revenue growth
without the planned addition of 600 beds
by facility expansion or acquisition, such
that the planned additions were not "just. .
. insurance," as claimed by Jacobs.

Id. at § 102.

Plaintiffs' allege as actionable the following
statements about PSI's reported operating expenses, same
facility results, revenue and patient data, in the first
quarter of 2008:

Psychiatric Solutions, Inc. ("PSI") today
announced financial results for the first
quarter ended March 31, 2008. Revenue
increased 33.3% to a record $429.7
million for the quarter from $322.4 million
for the first quarter of 2007. Income from
continuing operations rose 39.4% to $0.46
per diluted share from the comparable
prior-year quarter.

Same-facility revenue grew 7.7%
[*77] for the first quarter of 2008,
reflecting same-facility growth in net
revenue per patient day of 5.1% and
growth in patient days of 2.4%.
Same-facility EBITDA margin
expanded 180 basis points to 21.9% and
EBITDA margin for all facilities
increased 80 basis points to 20.8% for
the first quarter of 2008 from the first

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quarter of 2007. Consolidated adjusted
EBITDA grew 42.5% to a record $76.8
million, or 17.9% of revenue, for the first
quarter of 2008 from the first quarter of
2007. A reconciliation of all GAAP and
non-GAAP financial results in this release
can be found on page 6.

Joey Jacobs, Chairman, President
and Chief Executive Officer of PSI,
remarked, "PSI performed extremely
well during the first quarter of 2008,
enabling us to exceed earnings guidance
for the quarter and to again raise our
earnings guidance for the year. Our
focus on execution enabled us to achieve
our samefacility revenue and EBITDA
targets and implement our plans for
adding new beds. With the March
acquisition of five inpatient psychiatric
facilities from United Medical
Corporation, we also added more than 400
beds in a transaction expected to be
accretive to our 2008 financial results.

"Market dynamics in the [*78]
inpatient behavioral health industry
remain favorable, supporting our
ability to continue implementing our
proven business model. We remain
confident of our prospects for driving
further significant growth in our
same-facility metrics, while continuing to
build our platform for future growth
through the accretive acquisition of at least
six inpatient facilities each year."

Based on its first quarter results and
outlook for the remainder of the year, PSI
is increasing its guidance for earnings
from continuing operations per diluted
share for 2008 to a range of $2.00 to
$2.03 from the previous range of $1.97
to $2.01. As a result, growth in 2008
earnings per diluted share is expected to
be 34% to 36% compared to 2007. The
Company's guidance does not include the
impact from any future acquisitions.

Given the regulatory violations and patient safety
and care issues for incidents in 2007 and earlier, Plaintiffs
allege PSI had increased exposure to professional liability
claims at PSI's facilities. Id. at § 85. Thus, Plaintiffs
allege that Defendants lacked a reasonable basis to reduce
PSI's reserve account at the outset of the Class Period
and, in doing [*79] so, violated generally accepted
accounting principles ("GAAP"). Id. Plaintiffs
specifically cite Defendants' underreporting of PSI's
actual operating expenses and malpractice reserves
despite the prevalence of patient care and safety problems
and likely increase of patient claims in 2008 as
constituting misleading statements to investors at the
outset of the Class Period. Id. at f§ 85-95. Thus, Plaintiffs
allege the Defendants' February 20, 2008 earnings
release, Defendants’ statements at the February 21, 2008
conference call, and in PSI's 2007 Form 10-K Report
were deliberately or recklessly misleading to PSI
investors. Plaintiffs allege that Jacobs’ admission that
PSI's reserves should have been increased in its prior
quarterly financial statements demonstrates that PSI's
Forms 10-K and 10-Q filed with the SEC during the
Class Period violated GAAP. Id. at J 92.

Plaintiffs allege these statements about PSI's 2008
performance to be false and in reckless disregard of PSI's
actual operations and financial condition by failing to
disclose and concealing from investors or recklessly
ignoring material risks to PSI's financial viability.
Plaintiffs cite the foregoing statements as recklessly
[*80] and materially misleading:

o PSI's attribution of its strong growth,
revenues and margins to PSI's "focus on
execution" or its "successful strategy and
[] highly experienced management team,"
was in fact due to PSI's understaffing and
underfunding of psychiatric facilities
below levels of compliance with
regulatory licensing and accreditation
standards and requirements;

o PSI's reported financial results did
not reflect the true costs to operate its
facilities consistent with all regulatory,
licensing and accreditation standards and
requirements;

o PSI's reported financial results
continued to under-reserve for medical

Id. at {| 113 (emphasis in original).

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As to the material omissions about PSI's
business practices, Plaintiffs allege:

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malpractice and other professional liability
claims in violation of GAAP; and

o The financial guidance provided in
the April 30 earnings release and
discussed on the May 1 conference call
lacked a reasonable basis because it failed
to account for malpractice and
professional liability expenses that had
been incurred and were reasonably
expected to continue to be incurred at
levels above the amounts reserved for such
expenses, and because the guidance was
predicated on operating PSI's facilities in a
manner that failed to comply with
regulatory requirements or to provide
[*81] PSI's patients with adequate care in
a safe therapeutic environment.

o Defendants’ statement that PSI was
"on track to achieve [its] earnings
guidance for full year 2008" and PSI's
guidance for 2009 lacked a reasonable
basis because the published guidance
failed to account for the actual and
reasonably anticipated expenses and lost
business arising from the Riveredge
investigation or the administrative hold
imposed by DCFS, continuing malpractice
expense claims, or a decline in patient
occupancy that began in October 2008.
The guidance was also misleading and
lacked a reasonable basis because it was
predicated on operating PSI's facilities in a
manner that failed to comply with
regulatory requirements or to provide
PSI's patients with adequate care in a safe
therapeutic environment. Id. at | 145.

Id. at § 117.

o The statements omitted to disclose that
the Company's ability to produce
combined annual revenue growth of 7% to
9% at the facilities it had owned for more
than a year was predicated upon a
longstanding pattern and practice of

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cutting expenses in a manner that required
budgets and staffing to [*82] be reduced
below the levels necessary to prevent
physical and sexual assaults on patients, or
to provide adequate treatment or care to
those patients, including proper around the
clock monitoring of patients with suicidal
tendencies or who otherwise presented a
risk of harm to themselves or other
patients or staff. Id. at J 102.

o By failing to disclose that annual
revenue growth of 7% to 9% was
predicated upon practice of cutting
expenses and staffing below the levels
necessary to prevent physical and sexual
assaults on patients, that PSI's assertions
of its "high quality" of treatment or care
and safe environment for patients was
misleading. Id. at { 112;

o As of May 2008, serious patient
care deficiencies were still occurring at
PSI hospitals in California. Id.

o Turner knew or recklessly
disregarded that his statements at the
December 5, 2008 investor conference
were misleading and contributed to a fraud
upon investors, because Turner lacked a
factual basis to state that PSI's operations
of its facilities would be "viewed very
favorably" once the core measure data was
released, and lacked a basis for stating
DCFS's hold at Riveredge would be lifted
in the fourth quarter of 2008. Id. [*83] at
q 153.

Plaintiffs allege that Defendants’ statements did not
provide a truthful or accurate account of the Illinois'

actual investigation of Riveredge that UIC's investigation had

expanded to include facilities other than Riveredge and
was therefore unlikely to be completed before the end of
the year. Id. at | 146. Thus, Plaintiffs allege Defendants
lacked any factual basis to assert that the state hold at
Riveredge would be lifted in the fourth quarter 2008, nor
the 80% likelihood of such occurring. According to the
minutes of the September 10, 2008 PSI Medical
Executive Committee meeting, PSI had also been
informed of the results of a federal agency survey of the

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facility that "the hospital was close to being placed in
immediate jeopardy" based upon "a significant amount of
concer for the hospital's reputation within the
community and the quality of care provided to patients."
Id. Defendants also failed to disclose the continuing
violations at its other facilities nor PSI efforts to dissuade
state officials from imposing fines or sanctions at PSI's
Pines facility. Id.

According to the amended complaint, at the end of
the Class Period, PSI investors learned the extent to
which the administrative [*84] hold had increased PSI's
expenses and resulted in lost business that combined with
steadily increasing malpractice expenses. The decline in
PSI's financial performance caused an immediate 35%
drop in the value of PSI's stock. Id. at 9 9, 67-73,
200-213.

B. The Parties' Class Certification Proof

According to Plaintiffs, Lead Plaintiff Central States,
an institutional investor formed in 1955, administers
multi-employer Taft Hartley pension funds. (Docket
Entry No. 150, Lee Declaration at {ff 1, 2). Central States
has an operating budget of $35 million and manages $17
billion in pension funds for more than 210,000 persons.
Id. During the class period, Central States purchased
190,945 shares of PSI's common stock from the
NASDAQ at prevailing market prices. Those purchases
are with the assistance of professional investment
advisors. Id. at ] J 5-6.

PSI's weekly turnover rate for its shares traded on the
market is 10% of all of its outstanding shares. (Docket
Entry No. 148 at 24 and Docket Entry No. 149, Herman
Declaration at Exhibits 1A and 1B). There were at least
16 market analysts who prepared and distributed reports
on PSI and 19 market analysts participated in the
conference calls cited [*85] and quoted supra. Id.;
Docket Entry No. 149, Herman Declaration at Exhibits 1
and 5) During the class period, more than 237 market
makers (that agree to purchase or sell securities on
demand) engaged in trading more than one million shares
of PSI stock. Id. at 25; Docket Entry No. 149, Herman
Declaration at Exhibit 6). Plaintiffs charted the market's
reactions to PSI's announcement reflecting a "statistically
significant result". Id at 25-26; Docket Entry No. 149,
Herman Declaration at Exhibit 8). PSI filed the SEC's 8-3
form that the SEC allows only to companies with $75
million in capitalization and a history of SEC filings. Id
at 25. During this class period, PSI had capitalization of

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more than $600,000 million and exceed $1.3billion.PSI's
average "Bid-Ask" spread (the difference between price
of a willing buyer and willing seller of a stock) was
$0.04. Id. According to PSI's annual proxy statements,
insiders owned less than 2% of the outstanding shares
issued by PSI. Id.; Docket Entry No. 149, Herman
Declaration at Exhibit 9)

The Defendants submitted a summary of Central
States's purported transactions in PSI common stock that
was bought and sold on different dates from February
[*86] 22, 2008 to January 16, 2009 totaling of 82,254
shares that yielded an alleged "net gain" of
$1,903,529.27. (Docket Entry No. 152-1). Defendants
contend these transactions show that Central States is a
net gainer and did not suffer a loss rendering Central
States's subject to a unique defense that is inapplicable to
other class members. The author of this document is not
identified and the document is not authenticated.
According to Defendants' proof Central States's
certification under the federal securities laws reflects its
status as a class representative in 6 other class actions. Id.
Defendants cite Central States's representative's
Congressional testimony that in 10 to 15 years Central
States may not survive. (Docket Entry No. 152-4).
Defendants also cite Central States's designated agent's
testimony that Central states's counsel actually controls,
finances and manages the litigation that from Defendants’
perspective evinces Central States's actual lack of interest
and control of this litigation so as to disqualify Central
States as an adequate representative for the purported
class. (Docket Entry No. 155 at 10-11; Exhibit B).

Central States responds that under a 2011 Supreme
[*87] Court decision, loss causation is not an issue at
class certification. As a factual matter, Plaintiffs calculate
their losses at $2.5 million. (Docket Entry No. 42-3). As
to the Defendants' cited sales and purchases of PSI
common stock, Plaintiffs note that Defendants' failure to
calculate under recognized "First in First Out" ("FIFO")
or Last-In First Out" ("LIFO") methods. In addition,
Defendants' calculations do not account for transactions
costs in arriving at their purported net gain figure. As to
any net seller status, Central States contends that as a
matter of law, a net seller is not precluded from proving
damages to the class.

III. Conclusions of Law

Class actions "vindicat[e] the rights of individuals
who otherwise ought not consider it worth the candle to

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embark on litigation in which the optimum result might
be more than consumed by the cost." Gulf Oil Co. v.
Bernard, 452 U.S. 89, 99 n. 11, 101 S. Ct. 2193, 68 L. Ed.
2d 693 (1981) (quoting Deposit Guar. Nat'l Bank v.
Roper, 445 U.S. 326, 338, 100 S. Ct. 1166, 63 L. Ed. 2d
427 (1980)). A class action concentrates the litigation in
one forum and avoids inconsistent adjudications, thereby
advancing "the efficiency and economy of litigation
which is a principal purpose of the procedure." Am. Pipe
& Constr. Co. v. Utah, 414 U.S. 538, 553, 94 S. Ct. 756,
38 L. Ed. 2d 713 (1974). [*88] Any judgment in such an
action operates as res judicata against the claims of any
other class member. Duncan v. State of Tenn., 84 F.R.D.
21, 27 (M_D. Term. 1979).

To fulfill the requirements for class certification,
Plaintiffs must first show compliance with Rule 23(a) of
the Federal Rules of Civil Procedure that applies to all
class actions. Once Plaintiffs have met this requirement,
Plaintiffs must show that class certification is proper
under one of the subdivisions of Rule 23(b). Amchem
Products, Inc. v. Windsor, 521 U.S. 591, 621, 117 S. Ct.
2231, 138 L. Ed. 2d 689 (1997). "In determining the
propriety of a class action, the question is not whether the
plaintiff or plaintiffs have stated a cause of action or will
prevail on the merits, but rather whether the requirements
of Rule 23 are met." Eisen v. Carlisle & Jacquelin, 417
U.S. 156, 178, 94 S. Ct. 2140, 40 L. Ed. 2d 732 (1974)
(quoting Miller v. Mackey Int'l, Inc., 452 F.2d 424, 427
Oth Cir. 1971)(quotation marks omitted). Plaintiffs bear
the burden "to show the Court that the requirements of
Rule 23 are met." Duncan, 84 F.R.D. at 27. Mere
recitation of the statutory language contained in Rule 23
will not satisfy the requirements of these rules. Sims v.
Parke Davis Co., 334 F.Supp. 774 (E.D. Mich. 1971),
[*89] aff'd 453 F.2d 1259 (6th Cir. 1971).

Beyond Plaintiffs’ initial burden of persuasion on "all
four of the prerequisites contained in Rule 23(a)",
Plaintiffs must also "demonstrate that the class [they]
seek[] to represent falls within one of the subcategories
under Rule 23(b)." Steelman v. Strickland, 78 F.R.D. 187,
189 (E.D. Tenn. 1977) (Neese, D.J.) (quoting Senter v.
Gen. Motors Corp., 532 F.2d 511, 522 (6th Cir. 1976)).
This burden is not by a preponderance of the evidence, as
that standard applies only to proving the existence of the
class at the time of trial. See Paxton v. Union Nat'l Bank,
519 F. Supp. 136, 171 (E.D. Ark. 1981), rev'd in part on
other grounds, 688 F.2d 552 (8th Cir.1982). In
determining the appropriateness of class certification, a

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court should accept the complaint's allegations as true.
See Reeb v. Ohio Dep't of Rehab. & Corr., 81 Fed. Appx.
550, 555 (6th Cir. 2003).

In reaching a determination on class certification,
preliminary hearings on the merits are disfavored. Eisen,
417 U.S. at 177-78; Duncan, 84 F.R.D. at 28. The
Supreme Court, however, counsels that in determining
class action issues, "[s]Jometimes the issues are plain
enough from the pleadings to [*90] determine whether
the interests of the absent parties are fairly encompassed
within the named plaintiff's claim, and sometimes it may
be necessary for the court to probe behind the pleadings
before coming to rest on the certification question." Gen.
Tel. Co. of S.W. v. Falcon, 457 U.S. 147, 160, 102 S. Ct.
2364, 72 L. Ed. 2d 740 (1982) (emphasis added). A
limited factual inquiry into the class allegations,
including the deposition of the named plaintiff, is
appropriate for actions involving complex claims. Sece.,
e.g., Kirkpatrick v. J.C. Bradford, 827 F.2d 718, 723
(11th Cir.1987) (securities action). To be sure, the court
must engage in a rigorous analysis of the class
certification motion, but given the Supreme Court's
warning in Eisen, at this point, the Court's duty is to
determine only if there is a sufficient factual showing to
support the class sought to be certified.

A. Rule 23(a) Prerequisites

Rule 23(a) sets forth four prerequisites that must be
met for maintenance of a class action suit. To maintain a
class action, Plaintiffs must show that: "(1) the class is so
numerous that joinder of all members is impracticable;
(2) there are questions of law or fact common to the
class; (3) the claims or defenses of the [*91]
representative parties are typical of the claims or defenses
of the class; and (4) the representative parties will fairly
and adequately protect the interests of the class." Fed. R.
Civ. P. 23(a).

The Supreme Court requires that a district court
engage in a "rigorous analysis" of whether the Rule 23
prerequisites are met before certifying a class. In re Am.
Med. Sys. Inc, 75 F.3d 1069, 1078-79 (6th Cir.
1996)(citing General Tel. Co. v. Falcon, 457 U.S. 147,
161, 102 S. Ct. 2364, 72 L. Ed. 2d 740 (1982)). The
district court has broad discretion in deciding to certify a
class, but it must apply the Rule 23 framework. Jd. at
1079(citing Gulf Oil Co., 452 U.S. at 100)).

1. Numerosity

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To meet the first requirement of class certification
under Rule 23(a), Plaintiffs must demonstrate that the
putative class "is so numerous that joinder of all members
is impracticable." Fed. R. Civ. P. 23(a).

There is no strict numerical test for
determining impracticability of joinder.
Senter, 532 F.2d at 523 n. 24 (and
citations therein). Rather, "[t]he
numerosity requirement requires
examination of the specific facts of each
case and imposes no absolute limitations."
General Tel. Co. v. EEOC, 446 U.S. 318,
330, 100 S.Ct. 1698, 1706, 64 L.Ed.2d 319
(1980). [*92] When class size reaches
substantial proportions, however, the
impracticability requirement is usually
satisfied by the numbers alone. 1 Herbert
B. Newberg & Alba Conte, Newberg on
Class Actions, § 3.05, at 3-26 (3d ed.
1992)

In re Am. Med. Sys., Inc., 75 F.3d 1069, 1079 (6th
Cir.1996).

Here, Plaintiffs contend that the proposed class is a
nationwide class of investors in PSI stock during the class
for approximately one year. Given the parties' proof on
the number of traders, market analysts and sales of PSI
stock across the country of which less than 4% is owned
by insiders, the Court concludes that Plaintiffs have
satisfied the numerosity requirement of Rule 23(a).

2. Commonality

To satisfy the second requirement of Rule 23(a),
Plaintiffs must demonstrate that "there are questions of
law or fact common to the class." Fed. R. Civ. P.
23(a)(2). "The commonality requirement is
interdependent with the impracticability of joinder
requirement, and the 'tests together form the underlying
conceptual basis supporting class actions." In re Am.
Med. Sys., Inc., 75 F.3d at 1080 (quoting 1 Newberg,
supra at § 3.10, at 3-47).

The class-action was designed as "an
exception to the usual rule that litigation
[*93] is conducted by and on behalf of the
individual named parties only." Class
relief "is peculiarly appropriate’ when the

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‘issues involved are common to the class
as a whole' and when they tum on
questions of law applicable in the same
manner to each member of the class."

Id. (citation omitted). The commonality test requires only
a single issue common to all class members. 1 Newberg
supra at § 3.10. A class meets the commonality
requirement even if questions peculiar to individual class
members remain after a determination of defendant's
liability. Sterling v. Velsicol Chem. Corp., 855 F.2d 1188,
1197 (6th Cir.1988).
The commonality requirement deals

with shared questions of law or fact.

Although Rule 23(a)(2) speaks of

"questions" in the plural, we have said that

there need only be one question common

to the class. American Med. Sys., 75 F.3d

at 1080. It is not every common question

that will suffice, however; at a sufficiently

abstract level of generalization, almost any

set of claims can be said to display

commonality. What we are looking for is a

common issue the resolution of which will

advance the litigation.

Sprague v. General Motors Corp., 133 F.3d 388, 397
(6th Cir. 1998). "[W]here [*94] the nature of the legal
claims are such that individuals would have to submit
separate proofs to establish liability, class actions are
disapproved due to lack of commonality." Saur v. Snappy
Apple Farms Inc., 203 F. R. D. 281, 287 (W.D. Mich.
2001). Once commonality is established, "differences in
the amounts of damages sustained by class members will
usually not defeat certification... However, there must be a
workable system for determining damages for class
members if claims for monetary damages are to proceed."
Id. (citations omitted).

Here, Plaintiffs assert that the common claims for the
putative class against the Defendants are as follows:

a. Whether Defendants acted with the
requisite scienter in their statements to
investors or in their failures to provide
material facts that under the circumstances
was misleading to investors;

b. Whether Defendants’
misrepresentations and/or omissions were

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material

c. Whether the market for PSI common
stock was efficient so as to presume
reliance by investors;and

d. Whether the Defendants' cited
misrepresentations and/or omissions
caused Plaintiffs and class members a loss
during the class period

(Docket Entry No. 148, Plaintiffs’ Memorandum in [*95]
Support of Motion for Class Certification at 17).

Here, based upon its earlier Memorandum denying
the Defendants' motion to dismiss, as well as the
Plaintiffs' proof on the number of stock transactions on
NASDAQ, Defendants’ S-3_ registration, market
capitalization levels, the low bid-ask spread of PSI's
common stock, the low percentage of PSI common stock
held by insiders, the number of stock analysts, market
researchers on PSI's common stock, the Court concludes
that Plaintiffs have made a sufficient showing that the
Defendants operated in an efficient market for the sales
of PSI common stock. These factors are relevant on the
existence of an efficient market to create commonality for
class certification under the presumption of reliance
doctrine in Basic Inc v. Levinson, 485 U.S. 224, 108 S.
Ct. 978, 99 L. Ed. 2d 194 (1988). See Krogman v.
Sterritt, 202 F.R.D. 467, 472-478 (N.D. Tex. 2001); In re
Bexar Cty Health Facility Dev. Corp. Sec. Litig, 130
F.R.D. 602, 607 (E.D. Pa. 1990).

Moreover, the Defendants' "rollup acquisition
strategy", their public statements about its business
practices and their cited failures to disclose their actual
practices prior to the governmental findings of
widespread deficiencies in Defendants’ [*96] provision
of medical care services, create common issues of fact
and law for the investor class.

The Defendants argue that based upon the various
publication dates about its business practices, the Court
should create subclasses. At this stage in the proceeding,
the Court must determine whether commonality exists
without a determination of the merits of Plaintiffs' claims.
To the extend the proof develops otherwise, the Court can
later create subclasses. Fed. R. Civ. P. 23 (c)(5).

As to the Defendants’ assertion that Central States's
"net gain" or "net seller" status precludes commonality
with the class, the Supreme Court has held that loss

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causation in a securities action is not an issue for class
certification. Erica P. John Fund v. Halliburton Co., 131
S. Ct. 2179. 2183, 180 L. Ed. 2d 24 (2011) ("The question
presented in this case is whether securities fraud plaintiffs
must also prove loss causation in order to obtain class
certification. We hold they need not."). Here, with
disputed and unauthenticated proof, the Defendants
inappropriately injects this loss causation issue into a
class certification analysis. To the extent any variation or
distinction from Halliburton exists, the Court declines to
[*97] make merits findings in the context of a class
certification. From the court's review of the cited
decisions, this "net gain" issue usually arises in the
selection of a lead plaintiff }, but the Defendants did not
raise this issue earlier in these proceeding when the lead
plaintiff issue was before the Court. Finally, even if
Central states were a "net seller", such a fact does not
preclude proof of loss so as to qualify a plaintiff as a lead
plaintiff. Frank v. Dana Corp., 237 F.R.D. 171, 173 (N.
D.Ohio 2006) ("though the [proposed class
representative] may have been a net seller, it should have
no trouble proving damages and, therefore, is qualified to
serve as lead plaintiff).

1 Other Courts have rejected this method of
calculating plaintiffs' losses to further the
appointment of the group and its counsel. See In
re Cendant Corp. Litig., 264 F.3d 201, 266-67 (3d
Cir. 2001); In re XM Satellite Radio Holdings
Sec. Litig., 237 F.R.D. 13, 18 (D.D.C. 2006).

3. Typicality

Rule 23(a)(3) requires that "claims or defenses of the
representative parties [be] typical of the claims or
defenses of the class." Fed. R. Civ. P. 23(a)(3). In the
Sixth Circuit, to satisfy typicality, the plaintiff "must
[*98] be a member of the class he claims to represent .. .
[or s]tated another way, the plaintiff must have standing
to represent the class." Reid v. White Motor Corp., 886
F.2d 1462, 1471 (6th Cir. 1989) (quotation marks
omitted).

Typicality limits the class claims to those fairly
encompassed by the named plaintiffs’ claims. General
Tel. Co. v. EEOC, 446 U.S. 318, 330, 100 S. Ct. 1698, 64
L, Ed. 2d 319 (1980). See also Senter, 532 F.2d at 525 n.
31 ("[t]o be typical, a representative's claim need not
always involve the same facts or law, provided there is a
common element of fact or law"). A_ necessary
consequence of the typicality requirement is that the

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representative's interests must align with those of the
represented group, and in pursuing his own claims, the
named plaintiff will advance the interests of the class
members. 1 Newberg, supra, § 3.13, at 3-75. In In re Am.
Med. Sys., the Sixth Circuit stated:

Typicality determines whether a
sufficient relationship exists between the
injury to the named plaintiff and the
conduct affecting the class, so that the
court may properly attribute a collective
nature to the challenged conduct. In other
words, when such a relationship is shown,
a plaintiff's injury arises from or [*99] is
directly related to a wrong to a class, and
that wrong includes the wrong to the
plaintiff. Thus, a plaintiff's claim is
typical if it arises from the same event
or practice or course of conduct that
gives rise to the claims of other class
members, and if his or her claims are
based on the same legal theory.

75 F.3d at 1082 (quoting 1 Newberg, supra, § 3-13, at
3-76 (footnote omitted)with emphasis added)). Further,
[t]he typicality requirement, so

explained, tends to merge with the
commonality requirement. Falcon, 457
U.S. at 158 n. 13. Nevertheless, it is a
separate inquiry and in particular focuses
attention on differences between class
representative claims and class claims
which would defeat the representative
nature of the class action. Fuller v.
Fruehauf Trailer Corp., 168 F.R.D. 588,
598 (E.D.Mich. 1996).

Saur, 203 F.R.D. at 288. See also In re Direct General
Corp. Sec. Litig., No. 3:05-0077, 2006 U.S. Dist. LEXIS
56128, 2006 WL 2265472 at *3 (M.D. Tenn. Aug. 8,
2006) (citing In re Am. Med. Sys., Inc, 75 F.3d at 1082).

Here, the Court concludes that commonality and
typicality overlap on Plaintiffs' and class members
claims. In the Sixth Circuit, the test for typicality is
whether a named plaintiff's claims [*100] "arises from
the same event or practice or course of conduct that
gives rise to the claims of other class members, and if his
or her claims are based on the same legal theory." In re
Am. Med. Sys., 75 F.3d at 1082 (quoting Newberg, supra,

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§ 3-13 at 3-76) (emphasis added). For the reasons stated
on commonality, the Court concludes that the claims of
the named Plaintiffs are typical of those of the class and
Plaintiffs have satisfied the showing of typicality under
Fed. R. Civ. P. 23(a)(3).

4. Adequacy of the Class Representative

Rule 23(a) demands that the named representatives
"fairly and adequately protect the interests of the class."
Fed. R. Civ. P. 23(a)(4).

This prerequisite is essential to due
process, because a final judgment in a
class action is binding on all class
members. Hansberry v. Lee, 311 U.S. 32,
61 S. Ct. 115, 85 L. Ed. 22 (1940); 1
Newberg, § 3.21, at 408. See also Smith v.
Babcock, 19 F.3d 257, 264 n. 13 (6th Cir.
1994)("[nJo class should be certified
where the interests of the members are
antagonistic, because the preclusive effect
of the verdict may deprive unnamed class
members of their right to be heard").

Trollinger v. Tyson Foods, Inc., No. 4:02-CV-23, 2006
U.S. Dist. LEXIS 74114, 2006 WL 2924938 at * 7 (E.D.
Tenn. Oct. 10, 2006).

In [*101] Falcon, the Supreme Court reiterated its
core requirement that "a class representative must be part
of the class and possess the same interest and suffer the
same injury as the class members." 457 U.S. at 156
(citations and quotation marks omitted). Inquiry into the
adequacy elements requires the Court to consider whether
™(1) the representative[s] ... have common interests with
unnamed members of the class, and (2) it [] appear[s] that
the representatives will vigorously prosecute the interests
of the class through qualified counsel." Jn re Am. Med.
Sys, Inc., 75 F.3d at 1083 (quoting Senter, 532 F.2d at
525) "Rule 23(a)(4) tests 'the experience and ability of
counsel for the plaintiffs and whether there is any
antagonism between the interests of the plaintiffs and
other members of the class they seek to represent’.
Id{quoting Cross v. National Trust Life Ins. Co., 553
F.2d 1026, 1031 (6th Cir. 1977)); Falcon. 457 U.S. at
157 n. 13 ("“adequacy-of-representation requirement. . .
also raises concerns about the competency of class
counsel and conflicts of interest").

Absolute identity of claims among class members,

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however, is not required, Like v. Carter. 448 F.2d 798,
802 (8th Cir. 1971), [*102] particularly as to the amount
of damages. Weathers v. Peters Realty Corp.. 499 F.2d
1197, 1200-01 (6th Cir. 1974). The adequate
representation requirement overlaps with the typicality
requirement because in the absence of typical claims, the
class representative has no incentives to pursue the claims
of the other class members. Falcon, 457 U. S. at 157 n.
13.

Here, the Defendants' proof reflects that Central
States has been found by six other district courts (Docket
Entry No. 152-1) to be an adequate class representative.
The Defendants’ cited financial woes of Central States is
based upon a projection ten to fifteen years hence and
does not reflect Central States's current resources. This
action will not be pending for ten years. Central States
has the requisite resources to fund this litigation as
reflected by the record in this action. If at any point, a
class member or the Defendants can show otherwise, the
Court can reconsider its current finding.

Defendants cite the indemnification agreement and
advancement of costs disables Central States as an
adequate representative. The Private Securities Litigation
Reform Act contemplates counsel proving payment of
fees and litigation expenses. [*103] /5 U.S.C.
§78u-4(a)(8) ("the court may require an undertaking from
the attorneys for the plaintiff class ... in such proportions
and at such times as the court determines are just and
equitable, for the payment of fees and expenses that may
be awarded under this subsection"). See also H.R. Conf.
Rep. No. 104-369 at 40-41 (1995) This Court and others
have rejected contentions concerning contingency fees,
advancement of costs and indemnification agreement.
See Beach v. Healthways Inc., 3:08-0569, 2010 U.S. Dist.
LEXIS 33765, 2010 WL 1408791 at *5 (M_D. Tenn. April
2, 2010); City of Ann Arbor Emps. Ret. Sys. v. Sonoco
Prods. Co.. 270 F.R.D. 247, 252-53 (D.S.C. 2010)
(rejecting plaintiff's indemnification agreement as an
indicator of lack of adequacy).

As to Central States's cited lack of control over this
litigation, such concerns do not preclude a finding of
adequacy of Central States that receives reports on the
litigation from its counsel. See., Sonoco, 270 F.R.D. at
252-53 (rejecting plaintiffs "deferral to counsel" on
litigation issues as showing the lack of adequacy);
Johnson v. Aljian, 257 F. R. D. 587, 596 (C.D. Cal. 2009)
("attacks on the proposed Class Members's knowledge of

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and willingness or ability to [*104] supervise the
litigation and on the adequacy of proposed counsel are, at
best, hyperbolic and,at worst, consist of taking deposition
testimony out of context and presenting in a manner that
borders on misleading"); In re UTStarcom Sec. Litg., No.
C04-04908 JW, 2010 U.S. Dist. LEXIS 48122, 2010 WL
1945737, at * 8 (N. D. Cal. May 12, 2010) (rejecting a
contention of the plaintiff class representative's
inadequacy based upon a "portfolio monitoring"
agreement under which plaintiff agreed for its lead
counsel to monitor its securities portfolio for potential
claims).

In sum, the Court concludes, as have other courts,
that Central states is an adequate class representative, and
that Central States's lead counsel are experienced and will
protect the interests of the class.

B. Rule 23(6)(3) Requirements

To certify a class under Rule 23(b)(3), Plaintiffs must
show that "questions of law or fact common to class
members predominate over any questions affecting only
individual members, and that a class action is superior to
other available methods for the fairly and efficiently
adjudicating the controversy." Fed. R. Civ. P. 23(b)(3).
"To qualify for certification under Rule 23(b)(3), a class
must meet two requirements beyond [*105] the Rule
23(a) ‘prerequisites: Common questions must
predominate over any questions affecting only individual
members; and class resolution must be superior to other
available methods for the fair and efficient adjudication
of the controversy." Amchem Products, 521 U.S. at 615
(internal quotation marks omitted). For the reasons stated
on commonality under Rule 23(a), the Court concludes
that common questions of fact and law predominate this
action and any individual concerns of Central State.

For these same factual circumstances and based upon
the legal authorities cited on commonality under Rule
23(a)(2), the Court concludes that the fraud on the market
theory for this action is appropriate given the open and
efficient market for PSI common stock. This theory will
predominate in this action. As to whether a class action is
a superior method for the fair and efficient adjudication
of this action, the Court concludes that certification of
this action as a class action is a vastly superior method of
adjudication because the common issues will only have to
be heard and decided once, thereby promoting judicial
efficiency. Separate actions would run the risk of
inconsistent judgments. Thus, [*106] the Court finds that

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certification is appropriate under Rule 23(b)(3). and any other entity owned or controlled
by PSI, (ii) Joey A. Jacobs, Jack E. Polson
IV. Conclusion and Brent Turner (the "Individual

Defendants"); (iii) all other executive
officers and directors of PSI or any of its
parents, subsidiaries or other entities
owned or controlled by PSI; (iv) all
immediate family members of the
foregoing, including grandparents, parents,

For these collective reasons, the Court concludes that
Plaintiffs' motion for class certification should be
granted.

An appropriate Order is filed herewith.

ENTERED the 29th day of March, 2008. spouses, siblings, children, grandchildren
and step-relations of similar degree; and
/s/ William J. Haynes, Jr. (v) all predecessors and [*107] successors
in interests or assigns of any of the
William J. Haynes, Jr. foregoing.

United States District Judge

Within ten (10) days of entry of this Order, Plaintiffs
are DIRECTED to provide "the best notice practicable"
for class members, pursuant to Fed. R. Civ. P. 23(c)(2). It
is so ORDERED.

ORDER

In accordance with the Memorandum filed herewith,
Plaintiffs' motion for class certification

(Docket Entry No. 147) is GRANTED. The ENTERED the 29th day of March, 2012

Plaintiffs' class is defined as follows: /s/ William J. Haynes, Jr.

All persons who purchased or otherwise William J. Haynes, Jr.
acquired PSI securities between February
21, 2008 and February 25, 2009, inclusive United States District Judge

(the "Class Period"). Excluded from the
Class are:(i) PSI, its parents, subsidiaries,

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